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                                                                                                US009365528B2


o2)    United States Patent                                                (10)   Patent No.:                    US 9,365,528 B2
       Reynolds et al.                                                     (45)   Date of Patent:                           Jun.14,2016

(54)   DERIVATIVES OF SULINDAC, USE THEREOF                            (56)                       References Cited
       AND PREPARATION THEREOF
                                                                                          U.S. PATENT DOCUMENTS
(75)   Inventors: Robert Reynolds, Birmingham, AL
                                                                              3,532,752 A •       10/1970 Shen                        C07C45/46
                  (US); Bini Mathew, Birmingham, AL                                                                                      544/121
                  (US); Gary A. Piazza, Mobile, AL (US)                       3,883,660 A          5/1975 Shen et al.
                                                                              5,093,356 A •        3/1992 Girard                     C07C 275/64
(73)   Assignee: Southern Research Institute,                                                                                            514/432
                 Birmingham, AL (US)                                          6,071,934 A          6/2000 Sperl et al.
                                                                              7,544,690 B2 •       6/2009 Sekiguchi                  C07D 239/95
                                                                                                                                        514/231.5
(.)    Notice:      Subject to any disclaimer, the term of this         2007/0244122 Al           10/2007 Piazza et al.
                    patent is extended or adjusted under 35             2008/0207751 Al            8/2008 Sparatore et al.
                    U.S.C. 154(b) by 120 days.
                                                                                      FOREIGN PATENT DOCUMENTS
(21)   Appl. No.           14/008,271
                                                                      CN               101365461       A        2/2009
(22)   PCT Filed:          Mar. 30, 2012                              DE                10163426       Al       7/2003
                                                                      JP               S43-21428       A        9/1968
                                                                      JP             2003-530437       A       ]0/2003
(86)   PCT No.            PCT/US2012/031507
                                                                      JP             2004-315511       A       11/2004
       § 371 (c)(l),                                                  JP             2009-522364       A        6/2009
                                                                      WO             W0-0178721        Al      10/200 I
       (2), ( 4) Date:     Dec. 16, 2013                              WO          W0-2007/081694       A2       7/2007
                                                                      WO          W0-2011/140525       A2      11/2011
(87)   PCT Pub. No.       W02012/135650
                                                                                            OTHER PUBLICATIONS
       PCT Pub. Date: Oct. 4, 2012
                                                                      Notification of the First Office Action issued Aug. 12, 2014 in Chi-
(65)                     Prior Publication Data                       nese Appln 2012800!6]13.X.
                                                                      Supplementary European Search Report issued Aug. 29, 2014 in
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                                                                      Garnerd.inger et al., "Effects of sulindac sulfide on the membrane
                                                                      architecture and the activity ofYsecretase", Neuropharmacology, 54
                 Related U.S. Application Data                        (2008) 998-1005.
                                                                      Japanese Office Action issued Dec. I, 2015 in JP Application No.
(60)   Provisional application No. 61/470,752, filed on Apr.          2014-502842.
       1,2011.
                                                                       • cited by examiner
(51)   Int. Cl.
       C07D 307152              (2006.01)                             Primary Examiner - Yong Chu
       C07D 213138              (2006.01)                             (74) Attorney, Agent, or Firm - Polsinelli PC
       C07C 211/19              (2006.01)
       C07D 295/13              (2006.01)                             (57)                           ABSTRACT
       C07D 211/26              (2006.01)                             Derivatives of sulindac that lack cyclooxygenase inhibitory
(52)   U.S.Cl.                                                        activity are provided along with pharmaceutical composi-
       CPC            C07D 295/13 (2013.01); C07C 211119              tions containing them and use for treatment or prevention of
                  (2013.01); C07D 211/26 (2013.01); C07D              cancer. Toe derivatives of sulindac are also suitable for treat-
                 213/38 (2013.01); C07D 307/52 (2013.01)              ing chronic inflammatory conditions. A method for preparing
(58)   Field of Classification Search                                 the derivatives is also provided.
       None
       See application file for complete search history.                                  15 Claims, 2 Drawing Sheets




                                                                                                                                           I            EXHIBIT

                                                                                                                                           I    Piazza 28
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                                      O:t                  ·t               1.0                 100            1000
                                             Concentration ( µM)
                                       ·~      SS COX-1, IC50                   :=   1.2 ~lM
                                       @       SS COX-2, IC50 = 9.0 pM
                                       ~       SR! COX-1, !Ci;;n > 200 u~. .1
                                                                           Wv               >



                                       'f      SRI     cox.z,          IG50 > 200 p,M



   Figure 1. Cyc!ooxygenase (COX}-·i and -2 inhibitory activity
   of the NSAID, sulindac sulfide (SS), and lack of effect, an amino
   derivative of sulindac. Enzyme activity was measured using a
   colorimetric assay using recombinant COX enzymes. !Cso values
   {50°1,
        .o inhibrtcrv
           .i,,., _,,.t,;,j concentrauom                            "~'"'"' tor
                                                                            ,,._, each          .,_,•., tsozyme
                                                                                  ,;;.c:., ,,H C0X
                                                                  1
   ,                                                     ct,1;;.; !S~""-j
                            -· .,....,c:11.:i::ui;.. ii; •-,··,:s                                        "'  , ! ~-
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                                          1          10         100        1000
                                              Compound ( p.M)




    -
  Fkwre 2. Tumor
               .
                    cell orowth
                         ~.,      inhib1or-;~ activitv-~· of a tnmethoxv..,, amino
  derivative of suhndac and sulindac sulfide (SS) against the human
  MDA-MB-231 breast tumor cell line. Grmvth inhibitory activity was
  determined following 72 hours of treatment using a standard cell
  viability assay (Cell Titer G!o, Promega Corp).
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                                                     US 9,365,528 B2
                               1                                                                     2
    DERIVATIVES OF SULINDAC, USE THEREOF                               bition of tumor growth by aspirin and indomethacin" Br. J.
         AND PREPARATION THEREOF                                       Cancer 38: 503-512, 1978; Bennett et al., "Increased survival
                                                                       of cancer-bearing mice treated with inhibitors of prostaglan-
           CROSS REFERENCE TO RELATED                                  din synthesis alone or with chemotherapy" Br. J. Cancer 45:
                  APPLICATIONS                                   5     762- 768, 1982; Pollard and Luckert "Prolonged antitumor
                                                                       effect of indomethacin on autochthonous intestinal tumors in
   This application is a National Phase filing under 35 U.S.C.         rats" J. Natl. Cancer Inst. 70: 1103-1105, 1983; Fulton, "Inhi-
§371 ofPCT/US2012/031507 filed on Mar. 30, 2012; and this             bition of experimental metastasis with indomethacin: role of
application claims the benefit ofU.S. Provisional Application         macrophages and natural killer cells" Prostaglandins: 35:
No. 61/470,752 filed on Apr. 1, 2011, the entire contents of all to    413-425, 1988; Moorghen et al., "The effect of sulindac on
are hereby incorporated by reference.                                 colonic tumor formation in dimethylhydrazine-treated mice"
                                                                      Acta histochemica 29: 195-199, 1990; and Moorghen et al.,
      FEDERALLY SPONSORED RESEARCH AND                                "A protective effect of sulindac against chemically-induced
                DEVELOPMENT                                           primary colonic tumours in mice" J. of Path. J 56: 341-34 7
                                                                 15       Epidemiological studies have shown that long-term use of
   This invention was supported by Grants CA 131378, CA               NSAIDs can significantly reduce the incidence and risk of
128021 and CA 148817 from the National Cancer Institute of            death from colorectal cancer ( 4). In addition, certain prescrip-
the National Institutes of Health and the US Government has           tion strength NSAIDs, such as sulindac can cause the regres-
certain rights in the invention.                                      sion and prevent recurrence of adenomas in individuals with
                                                                 20   FAP (5). The antineoplastic activity of NSAIDs is widely
                    TECHNICAL FIELD                                   attributed to their cyclooxygenase (COX) inhibitory activity
                                                                      because prostaglandins are elevated in colon tumors (6) and a
   The present disclosure relates to certain derivatives of           significant percentage of colon tumors express high levels of
sulindac and especially amino derivatives of sulindac. The            the inducible COX-2 isozyme (7). However, there is evidence
present disclosure also relates to pharmaceutical composi- 25         that alternative mechanisms either contribute to or fully
tions comprising the disclosed derivatives of sulindac, as well       account for the colorectal cancer chemopreventive activity of
as methods of using the disclosed derivatives of sulindac for         NSAIDs (8-10). For example, the non-COX inhibitory suJ-
the treatment and prevention of precancerous conditions and           fone metabolite of sulindac has been reported to inhibit the
cancer in a mammal. The disclosed derivatives of sulindac are         growth and induce apoptosis of colon tumor cell in vitro (11,
also suitable for treating chronic inflammatory conditions. JO         12) and suppress colon tumorigenesis in animal models (13-
The present disclosure also relates to methods for producing           15). Sulindac sulfone (exisulind) was also shown to suppress
the disclosed compounds.                                              adenoma formation in individuals with FAP or sporadic
                                                                      adenomas (16, 17), but did not receive FDA approval due to
                      BACKGROUND                                      hepatotoxicity. The use of NSAIDs is associated with gas-
                                                                 35   trointestinal, renal and cardiovascular toxicities from sup-
   Even though significant advances have occurred in the              pressing prostaglandin synthesis (18, J 9).
treatment of cancer, it still remains a major health concern.             Previous studies have shown that certain NSAIDs can
Cancer has been reported as the leading cause of death in the         decrease nuclear levels of ~-catenin by inducing proteosomal
United States with one of every four Americans likely to be           degradation to inhibit the transcription of genes (e.g. cyclin
diagnosed with the disease. By way of example, colorectal        40   D, survivin) that provide a survival advantage to allow for
cancer is the third most commonly diagnosed cancer in the             clonal expansion of neoplastic cells (20-22). Several groups
world that accounts for approximately 600,000 deaths per              have reported that sulindac sulfone can also induce the deg-
year. While a colonoscopy allows for the early detection of           radation of oncogenic ~-catenin, which suggests that the
the disease and the identification of individuals who are at          underlying biochemical mechanism by which NSAIDs sup-
high risk of disease progression, the mortality rate from col-   45   press ~-catenin signaling may not require COX inhibition
orectal cancer has decreased only marginally in the last two          (22-24).
decades (1 ). Additionally, certain lesions such as flat                 As mentioned above, Sulindac (Clinoril'Pe) is a NSAID
adenomas cannot be readily detected by a colonoscopy (2)              that has demonstrated anticancer activity. It has been recog-
and surgical management of adenomas in high risk individu-            nized as having benefits for treating precancerous conditions
als, such as with familial adenomatous polyposis (FAP) often     50   as evidenced by a number of clinical trials in familial
requires complete or segmental removal of the colon (3).              adenomatous polyposis patients which have shown the ability
Given the slow progression of carcinogenesis and the limita-          of sulindac to cause the regression of existing adenomas (size
tions of colonoscopy, much research has focused on cancer             and number) and to inhibit new adenoma (polyp) formation.
chemoprevention to reduce the development and progression             For example, see Waddell et al, "Sulindac for polyposis of the
of colorectal cancer.                                            55   colon" J. ofSurg. 157· 175-179, 1989; Labay le et al., "Sulin-
   Included among the known chemotherapeutic drugs are                dac causes regression of rectal polyps in familial adenoma-
carmustine, doxorubicin, methotrexate, paclitaxel, cyclo-             tous polyposis" Gastroenterology 101. 635-639, 1991,
phosphamide, procarbazine, and vinblastine, to name only a            Nugent et al., "Randomized controlled trial of the effect of
few. However, many chemotherapeutic drugs also produce                sulindac on duodenal and rectal polyposis and cell prolifera-
undesirable side effects in the patient.                         60   tion in patients with familial adenomatous polyposis" Br. J.
   Certain nonsteroidal anti-inflammatory drugs (NSAIDs)              Surg. 80: 1618-1619, 1993; Giardiello, et al., "Treatment of
have been recognized to have broad anticancer activity in             colonic and rectal adenomas with sulindac in familial
animal models alone and in combination with chemotherapy              adenomatous polyposis" N. Eng. J. Med 328: 1313-6, 1993;
or radiation. Representative examples include: Hial et al.,           and Wintle et al., "Complete reversion and prevention of
"Alteration of tumor growth by aspirin and indomethacin:         65   rectal adenomas in colectomized patients with familial
studies with two transplantable tumors in mouse" Eur. J.              adenomatous polyposis by rectal low-dose suJindac mainte-
Pharm. 37: 367-376, 1976; Lynch et al., "Mechanism ofinhi-            nance treatment." Dis. Colon Rectum 38: 813-830, 1995.
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                              3                                                                   4
    The mechanism responsible for the anti-inflammatory effi-         There are publications suggesting that certain chemical
cacy and the toxicity ofNSAJDs and COX-2 selective inhibi-         modifications to the carboxylic acid moiety ofNSAJDs will
tors (gastrointestinal, renal, hematological, cardiovascular)      result in improved safety (i.e., as prodrugs or by localized
has been shown to involve cyclooxygenase COX-I or COX-2            release of nitric oxide). For example, see Mahmud et al., "A
inhibition. Sulindac and certain other NSAJDs also have 5 unifying hypothesis for the mechanism of NSAJD related
hepatic toxicity. For instance, see Vane, "Mode of action of       gastrointestinal toxicity" Ann. Rheumatic Diseases 55: 211-
aspirin and similar compounds" In Prostaglandin Synthetase         213, J 996; Venuti et al., "Synthesis and biological evaluation
Inhibitors, Eds Robinson, Raven Press, New York, N.Y.,             of (N,N,N,-trialkylammonium)alkyl esters and thioesters of
 1974; Eaker "Gastrointestinal injury related to the use of        carboxylic acid nonsteroidal anti-inflammatory drugs" Phar-
nonsteroidal anti-inflammatory drugs" Gastrointestinal Dis- io maceutical Research 6: 867-873, 1989; Salimbeni et al.,
ease Today 6: 1-8, 1997; Wolfe et al., "Gastrointestinal tox-      "New esters ofN-arylanthranilic acids" Farrnaco 30: 276-86,
icity ofnonsteroidal anti-inflammatory drugs" N. Eng. J. Med       1975; and Elliot et al. "A nitric oxide-releasing nonsteroidal
340: J 888-99, 1999; Palmer "Renal complications associated        anti-inflammatory drug accelerates gastric ulcer healing in
with use ofnonsteroidal anti-inflammatory agents" J. Invest. 15 rats" Gastroenterology 109: 524-530, 1995.
Medicine 43: 516-533, 1995; Tarazi et al., "Sulindac-associ-          In addition, U.S. Pat. Nos. 5,401,774, 6,166,053 and 6,200,
ated hepatic injury: analysis of 91 cases reported to the Food     771 suggest certain modifications to sulindac sulfone which
and Drug Administration" Gastroenterology 104: 569-574,            is not a NSAJD.
1993; and Mukherjee et al. "Risk of cardiovascular events             As another example, a series of amide and ester derivatives
associated with selective COX-2 inhibitors" JAMA 286: 954- 20 of indomethacin and meclofenamic acid involving modifica-
959, 2001.                                                         tions to the carboxylic acid moiety were described by Marnett
    Most investigators attribute the mechanism for the antican-
                                                                   et al. These compounds were described as having safety
cer activity ofNSAlDs to anti-inflammatory activity involv-
ing COX inhibition, although there is some evidence for a          advantages over the parent NSA1Ds based on selectivity for
COX-independent mechanism as mentioned below. For 25 the cyclooxygenase-2 isozyme. However, anticancer activity
example, the activity of the sulfonemetabolite of sulindac has     was not described and modifications to improve anticancer
been described which retains anticancer activity in preclinical
and clinical trials but does not inhibit cyclooxygenase and        efficacy (potency) were not described. For example, see Kal-
displays less GI toxicity. See for example, Piazza et al., "Anti-  gutkar et al., "Biochemical based design of cyclooxygenase-2
neoplastic drugs sulindac sulfide and sulfone inhibit cell 30 (COX-2) inhibitors: facile conversion of nonsteroidal anti-
growth by inducing apoptosis" Cancer Res. 55: 3110-3116,           inflammatory drugs to potent and highly selective COX-2
1995; Piazza et al., "Sulindac sulfone inhibits azoxymethane-
                                                                   inhibitors" Proc. Natl. Acad. Sci. 97: 925-930, 2000; Kalgut-
induced colon carcinogenesis in rats without reducing pros-
taglandin levels" Cancer Res. 57: 2909-2915, 1997; Piazza et       kar et al. "Amide derivatives of meclofenamic acid as selec-
al., "Apoptosis primarily accounts for the growth inhibitory 35 tive cyclooxygenase-2 inhibitors" Bioorganic and Medicinal
properties of sulindac metabolites and involves a mechanism        Chemistry Letters 12: 521-524, 2002; Kalgutkaret al., "Ester
that is independent of cyclooxygenase inhibition, cell cycle
                                                                   and amide derivatives of the nonsteroidal anti-inflammatory
arrest, and p53 induction" Cancer Res. 57· 2452-2459, 1997;
Piazza et al, "Exisulind a novel proapoptotic drug inhibits rat    drug, indomethacin, as selective cyclooxygenase-2 inhibi-
urinary bladder tumorigenesis" Cancer Res., 61. 3961-3968, 40 tors" J. Med. Chem. 43: 2860-2870, 2000; U.S. Pat. No.
2001, and Chan "Nonsteroidal anti-inflammatory drugs, apo-         5,973,191 to Marnett and Kalgutkar "Selective inhibitors of
ptosis, and colon-cancer chemoprevention" The Lancet               prostaglandin endoperoxide synthetase-Z"; and U.S. Pat. No.
Oncology 3: 166-174, 2002.
                                                                   5,475,021 to Marnett and Kalgutkar "Compounds and com-
   The mechanism responsible for the antineoplastic activity
of sulindac sulfone has been previously reported to involve 45     positions  for inhibition of cyclooxygenase activity"
cyclic guanosine monophosphate ( cGMP) phosphodiesterase              More recently, various amide derivatives of sulindac have
(PDE) inhibition (23, 25). More recently, it has been reported     been disclosed in U.S. patent application Ser. No. 60/755,847
that the COX inhibitory sulfide metabolite of sulindac and         filed Jan. 4, 2006 and Ser. No. 11/649,373 filed Jan. 4, 2007,
certain other NSA1Ds also inhibit cGMP PDE, and that this          now U.S. Pat. No. 8,044,048 to Piazza et al. and assigned to
activity is closely associated with their tumor cell growth 50 Southern Research Institute, the assignee of the present appli-
inhibitory and apoptosis-inducing properties (26-28). Cyclic       cation. However, during animal testing, modest metabolism
nucleotide PDEs are a large superfamily of enzymes respon-         of the amide linkage from at least one of the amide derivatives
sible for regulating second messenger signaling by hydrolyz-       of sulindac was noted, producing sulindac sulfide a known
ing the 3',5'-phosphodiester bond in cGMP and/or cAMP.             COX 1 and COX 2 inhibitor. Production of this product is
There are at least eleven PDE isozyme family members hav- 55 likely a result of non-specific enzymes known as amidases
ing different substrate specificities, regulatory properties, tis- that can regenerate the carboxylic acid and can cause side
sue localization, and inhibitor sensitivity (29). PDE!, 2, 3, 10   effects resulting from COX inhibition. The metabolism of the
and 11 are dual substrate-degrading isozymes, while PDE5,          amide to the carboxylic acid has been previously reported by
6, and 9 are selective forcGMP andPDE4, 7, and8 arecAMP            Piazza et al, "A novel sulindac derivative that does not inhibit
selective. In addition, each isozyme family contains multiple 60 cyclooxygenases but potently inhibits tumor cell growth and
isoforms or splice variants. Depending on the PDE isozyme          induces apoptosis with antitumor activity" Cancer Prev. Res.
content of the target cell population and inhibitor selectivity,   2: 574-580, 2009.
PDE inhibitors can increase the magnitude and/or the dura-            Notwithstanding the advances in treatments for cancer and
tion of the cAMP and/or cGMP intracellular signal(s).              other diseases there still remains an unmet medical need for
Increasing cyclic nucleotide levels can induce specific signal- 65 improved drugs that are effective for the prevention and treat-
ing pathways, which, in the case of cGMP, can activate pro-        ment of cancer, while at the same time exhibiting reduced
tein kinase G (PKG) to regulate cellular activity (30).            adverse side effects.
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                               5                                                                       6
                         SUMMARY                                           R 6 is a substituted or unsubstituted 5 or 6 member ring; and
                                                                           X is a halogen; and
  The present disclosure relates to compounds represented                  pharmaceutically acceptable salts thereof, prodrugs
by the formula:                                                         thereof, solvates thereof and mixtures thereof.
                                                                           Also disclosed are methods of using the compounds of the
                                                                        present disclosure represented by the formula:
                                            NR,Rs
                                      J-2

                X
                                                                                                              J-2
                                                                                                                    NR.Rs
                                                                   10
                                                                                        X




                                                                   15

    wherein each of R4 and Rs is selected from the group
consisting of H, alkyl, a substituted or unsubstituted 5 or 6
member ring, provided that at least one of R, and Rs is other              wherein each of R4 and Rs is selected from the group
than H; and when both R4 and Rs are a substituted or unsub-        20   consisting of H, alkyl, a substituted or unsubstituted 5 or 6
stituted 5 or 6 member ring, both of'R, and Rs are a substituted        member ring; and when both R 4 and Rs are a substituted or
or unsubstituted pyridyl ring;                                          unsubstituted 5 or 6 member ring, both of ~ and Rs are a
    ~ is a substituted or unsubstituted 5 or 6 member ring; and         substituted or unsubstituted pyridyl ring;
   X is a halogen; and
                                                                           R6 is a substituted or unsubstituted 5 or 6 member ring; and
   pharmaceutically acceptable salts thereof, prodrugs             25      X is a halogen; and
thereof, solvates thereof and mixtures thereof.
                                                                           pharmaceutically acceptable salts thereof, prodrugs
   The substituted or unsubstituted 5 or 6 member ring group
                                                                        thereof, solvates thereof and mixtures thereof, in treating or
for R 4, Rs and R 6 can be a saturated or unsaturated ring and
                                                                        preventing cancer in a mammal.
includes carbon, and optionally a heteroatom such as Nor 0.
                                                                          Another aspect ofthis disclosure is concerned with meth-
   The present disclosure is also concerned with a compound
                                                                   30   ods of using the compounds represented by the formula:
being represented by the following formula:


                                             NHi,

                                                                   35                   X




                                                                   40



                                                                     wherein each of R 4 and Rs is selected from the group
                                                                  consisting of H, alkyl, a substituted or unsubstituted 5 or 6
                                                               45 member ring, provided that at least one of R, and Rs is other
                                                                  than H; and when both R4 and Rs are a substituted or unsub-
pharmaceutically acceptable salts thereof, prodrugs thereof,
                                                                  stituted 5 or 6 member ring, both of R, and Rs are a substituted
solvates thereof and mixtures thereof.
                                                                  or unsubstituted pyridyl ring;
   Another aspect of the present disclosure relates to pharma-
                                                                     R6 is a substituted or unsubstituted 5 or 6 member ring; and
ceutical compositions containing a compound represented by
                                                               50    X is a halogen; and
the formula:
                                                                     pharmaceutically acceptable salts thereof, prodrugs
                                                                  thereof, solvates thereof and mixtures thereof, in treating
                                          NR,Rs                   chronic inflammatory diseases such as inflammatory bowel
                                      J-2                         disease and certain neurodegenerative diseases including
                X                                              55 Alzheimer's disease.
                                                                     A unique characteristic of the disclosed derivatives of
                                                                  sulindac is that they lack inhibitory effects on cyclooxyge-
                                                                  nase, types 1 and 2, enzymes, that otherwise would result in
                                                                  the depletion of physiologically important prostaglandins,
                                                               60 which can result in gastrointestinal, renal and cardiovascular
                                                                  toxicity.
                                                                     Another aspect is that the disclosed derivatives of sulindac
  wherein each of R4 and Rs is selected from the group            were found to display potent tumor cell growth inhibitory
consisting of H, alkyl, a substituted or unsubstituted 5 or 6     activity against a variety of tumor cells types derived from
member ring; and when both R 4 and Rs are a substituted or 65 solid tumors and hematological malignancies.
unsubstituted 5 or 6 member ring, both of R 4 and Rs are a           A still further aspect of this disclosure concerned with a
substituted or unsubstituted pyridyl ring;                        method for preparing the above-disclosed compounds.
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                                7                                                                    8
   Certain compounds according to the present invention can
be prepared by converting an ester of sulindac or a derivative
therefore represented by the following formula:

                                                                  5

                                          0-•

                F

                                                                  10




                               Ar
                                                                  15

  Ar is a substituted or unsubstituted 5 or 6 member ring.               A compound represented by the formula is obtained by the
Non-limiting examples of Ar include                                    above process step:


                                                                  20
                                                                                    X

                ~·
       "--s~
                                                                  25
           II
          0                                                                                         Ar



                                                                         Other compounds according to the present disclosure can
                                                                  30   be prepared by the following scheme:


                                                                                              OH

                                                                  35
                                                                       F
                                    and
                                          ~·                                                         I. borane, THF, 0° C.
                                                                                                     2. TBAl, Pyridine,

                                          JJ                      40
                                                                                                         CH2Cl2, Tf20
                                                                                                     3. NaN3, CH3CN
                                                                                                    4. PPhi




   wherein each R1, R2 and R3 is individually selected from       45
                                                                       -s
the group consisting ofH, Salkyl, alkyl and alkoxy;
  An aldehyde represented by the following formula is
obtained according to the above process step;                                                              F
                                                                  50

                                            H.

                    F


                                                                  55



                          Ar                                                                                -s

                                                                  60
   Toe aldehyde is the reacted with ammonia or an amine                   Still other objects and advantages of the present disclosure
represented by R4R5NH. Each R4 and R5 is individually                  will become readily apparent by those skilled in the art from
selected from the group consisting ofH, alkyl, a substituted or        the following detailed description, wherein it is shown and
unsubstituted 5 or 6 member ring; and when both R4 and R5              described only the preferred embodiments, simply by way of
are a substituted or unsubstituted 5 or 6 member ring, both of    65   illustration of the best mode. As will be realized, the disclo-
R4 and R5 are a substituted or unsubstituted pyridyl ring.             sure is capable of other and different embodiments, and its
Non-limiting examples of R, and R5 include                             several details are capable of modifications in various obvious
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                                9                                                                      10
respects, without departing from the disclosure. Accordingly,             0-heterocyclo groups such as furanyl and pyranyl; heterocy-
the description is to be regarded as illustrative in nature and           clo groups containing both N and O such as morpholinyl.
not as restrictive,                                                       When substituted these groups are typically substituted with
                                                                          at least one alkyl group, halo, alkoxy group, amino group or
           BRIEF DESCRJPTION OF FIGURES                            5     aminoalkyl group. The rings can be substituted with more
                                                                         than one substituent, for instance, trimethoxy.
   FIG. 1 illustrates the cyclooxygenase (COX)-1 and -2                      It is of course understood that the compounds of the present
inhibitory activity of the NSAID, sulindac sulfide (SS), and             disclosure relate to all optical isomers and stereo-isomers at
the Jack of this effect from (Z N-benzyl-2-(5-fluoro-2-me-               the various possible atoms of the molecule, unless specified
thy 1-1-(4-( methylsulfiny l)benzy Jidene )-1 H-inden-3-y l )etha- 10    otherwise.
namine (Compound 6 disclosed herein below), an amino                         The compounds according to this disclosure may form
derivative of sulindac.                                                  prodrugs at hydroxyl or amino functionalities using alkoxy,
   FIG. 2 illustrates tumor cell growth inhibitory activity of a         amino acids, etc. groups as the prodrug forming moieties. For
trimethoxy amino derivative of sulindac (Compound 6) and                 instance, the hydroxymethyl position may form mono-, di- or
sulindac sulfide (SS) against the human MDA- MB-231 breast 15
                                                                         triphosphates and again these phosphates can form prodrugs.
tumor cell line.
                                                                             Preparations of such prodrug derivatives are discussed in
              BEST AND VARJOUS MODES                                     various literature sources (examples are: Alexander et al., J.
                                                                         Med. Chem. 1988, 31,318; Aligas-Martin et al., PCT WO
  The present disclosure is concerned with novel derivatives      20     pp/41531, p. 30). The nitrogen function converted in prepar-
of sulindac represented by the formula:                                  ing these derivatives is one (or more) of the nitrogen atoms of
                                                                         a compound of the disclosure.
                                                                             "Pharmaceutically acceptable salts" refer to derivatives of
                                                                         the disclosed compounds wherein the parent compound is
                                                                  25     modified by making acid or base salts thereof. The com-
                X                                                        pounds of this disclosure form acid addition salts with a wide
                                                                        variety oforganic and inorganic acids and includes the physi-
                                                                        ologically acceptable salts which are often used in pharma-
                                                                        ceutical chemistry. Such salts are also part of this disclosure.
                                                                  30
                                                                        Typical inorganic acids used to form such salts include hydro-
                                                                        chloric, hydrobromic, hydroiodic, nitric, sulfuric, phospho-
                                                                        ric, hypophosphoric and the like. Salts derived from organic
                                                                        acids, such as aliphatic mono and dicarboxylic acids, phenyl
   wherein each of R4 and Rs is selected from the group
consisting of H, alkyl, a substituted or unsubstituted 5 or 6 35        substituted alkonic acids, hydroxyalkanoic and hydroxyal-
member ring provided that at least one of R4 and Rs is other            kandioic acids, aromatic acids, aliphatic and aromatic sul-
than H; and when both R, and Rs are a substituted or unsub-             fonic acids, may also be used. Such pharmaceutically accept-
stituted 5 or6memberring, both of'Rj and Rs area substituted            able        salts   thus    include     acetate,   phenylacetate,
or unsubstituted pyridyl ring;                                          trifluoroacetate, acrylate, ascorbate, benzoate, chloroben-
   R6 is a substituted or unsubstituted 5 or 6 member ring; and 40      zoate, dinitrobenzoate, hydroxybenzoate, methoxybenzoate,
   X is a halogen; and                                                  methylbenzoate, o-acetoxybenzoate, naphthalene-Z-ben-
   pharmaceutically acceptable salts thereof, prodrugs                  zoate, bromide, isobutyrate, phenylbutyrate, ~-hydroxybu-
thereof, solvates thereof and mixtures thereof.                         tyrate, butyne-I ,4-dioate, hexyne-1,4-dioate, caprate, capry-
   The substituted or unsubstituted 5 or 6 member ring group            late, chloride, cinnarnate, citrate, formate, furnarate,
for R4, Rs and R6 can be a saturated or unsaturated ring and 45         glycollate, heptanoate, hippurate, lactate, malate, maleate,
includes carbon, and optionally a heteroatom such as Nor O;             hydroxymaleate, malonate, mandelate, mesylate, nicotinate,
substitutions include at ]east one alkyl group, halo group,             isonicotinate, nitrate, oxalate, phthalate, teraphthalate, phos-
alkoxy group, amino group or aminoalkyl group;                          phate, monohydrogenphosphate, dihydrogenphosphate,
   The alkyl group typically contains 1-12 carbon atoms. The            metaphosphate, pyrophosphate, propiolate, propionate, phe-
alkyl group more typically contains 1-4 carbon atoms. 50                nylpropionate, salicylate, sebacate, succinate, suberate, sul-
Examples of suitable alkyl groups include methyl, ethyl and             fate, bisulfate, pyrosulfate, sulfite, bisulfite, sulfonate, ben-
propyl. Examples branched alkyl groups include isopropyl
                                                                        zene-sulfonate,                        p-bromobenzenesulfonate,
and t-butyl. Examples of alkyl substituted aromatic groups
                                                                        chloro benzenesulfonate, ethanesulfonate, 2-hydroxyethane-
(aralkyl) are phenyl C1_3 alkyl and benzy!.
                                                                55      sulfonate, methanesulfonate, naphthalene-1-sulfonate, naph-
   Typical alkyl substituted aromatic groups containing 7 to
10 carbon atoms in the aromatic ring. When substituted the              thalene-2-sulfonate, p-toleunesulfonate, xylenesulfonate,
alkyl group typically contains 1-6 carbon atoms.                        tartarate, and the like.
   Examples of halo groups are Cl, F, Br and I.                             "Solvates" refers to the compound formed by the interac-
   The term "aryl" refers to monocyclic or bicyclic aromatic            tion of a solvent and a solute and includes hydrates. Solvates
hydrocarbon groups having 6 to 12 carbon atoms in the ring 60           are usually crystalline solid adducts containing solvent mol-
portion, such as phenyl, naphthyl, biphenyl, and diphenyl               ecules within the crystal structure, in either stoichiometric or
groups, each of which may be substituted such as with a halo            nonstoichiometric proportions.
or alkyl group.                                                             The term "comprising" (and its grammatical variations) as
   Examples of 5 and 6 member ring groups are phenyl;                   used herein is used in the inclusive sense of "having" or
N-heterocyclo groups such as pyridyl, pyrrolidinyl, piperidi- 65        "including" and not in the exclusive sense of"consisting only
nyl, piperazinyl, pyridinyl, pyrrolyl, pyrazolyl, pyrazinyl             of." The terms "a" and "the" as used herein are understood to
pyrimidinyl, pyridazinyl, imidazoyl and imidazolidinyl;                 encompass the plural as well as the singular.
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                                            11                                                                                                12
   The term "precancerous condition" refers to patients hav-                                   Some exemplary compounds were prepared by the follow-
ing a propensity for being afflicted with cancer.                                           ing scheme.
   Compounds according to the present disclosure can, for
example, be prepared by the following methods.
                                                                                                                                       OH

                              a----
                                                                                            F                                                1. Oxalyl chloride, DMF,
                                                                                                              "'::::::                         CH2Cl2,rt
F                                                                                      10


                                                 -A                                                           #
                                                                                                                                             2. trimethylsilylazide,
                                                                                                                                               CC!, rt-so•
                                                                                                                                             3. AcOH/HCI
                                                                                                                                                              c.

                        ~                                                                       R1
                                                                                       15
                   Ar



                                                                                                                         Ri

                                                                                       20
                                                            H
                                                                                                          F
                                                                                                                                                         RCHO, Na(OAc)iBH
                        F                                                                                                                                 1,2-Dichloroethane
                                "'::::::                                               25
                                                                +

                                #
                                                                                                                                       ~
                                                 ~                                                            R1

                                            Ar
                                                                                       30


                                                                                                                                  R3

                                                                                                                               10-11
                                                                              HN_.-R

                                                                                       35
                                                                                                                                                                                         /R

                   R-NH2
                             -B orC
                                                   F



                                                                                       40
                                                                                                                                                F
                                                                                                                                                             "'::::::
                                                                         ~
                                                                                                                                                             #
                                                                    Ar
                                                                                                                                                                              ~
                                                                                       45                                                           R1




AI=
       -.....,_s
             0
              II
                   .c           ......._s
                                            fY                                         50                                                                          12-13
                                                                                                                                                                        Ri




       _1fY   II
              0
                                 /'Xf u
                                 '--o                  #

                                                 ..,...-o
                                                                N                      55
                                                                                                Com-
                                                                                                                                                                             IC so (µM)


                                                                                                                                                                                          MDA-
                                                                                                                                                                                          MB-
                                                                                            pounds                            R,R 1,R 2&R 3                   HT29                PC3     231

R=
      V                     ~
                            0
                                                            I
                                                            /N~                        60
                                                                                                     10
                                                                                                     II
                                                                                                     12
                                                                                                                         R 1 & R 3 = H, R 2 = SCH 3
                                                                                                                          RI> R2 & R, - OCH,
                                                                                                          R 1 & R, = H, R2 = SCH 3, R = methyl
                                                                                                                                                              15.99
                                                                                                                                                              14.64
                                                                                                                                                              10.76
                                                                                                                                                                               33.60
                                                                                                                                                                               29.73
                                                                                                                                                                               12.73
                                                                                                                                                                                          19.33
                                                                                                                                                                                          15.35
                                                                                                                                                                                           9.50
                        CN_/                                                                                            4-pyridyl
                                                                                                     13        RI, R2 & R3 = OCH3, R = methyl                   9.83              9.09     8.21
A) DIBALH, Toluene,· 70° C. B) NaBH,, McOH, rt C) Sodium triacetoxyborohydride,        65                                        4-pyridyl
1,2-Dicbloroctba.nc, rt
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                              13                                                                   14
  Also various compounds according to the present disclo-          reaction mixture was quenched with aqueous saturated
sure can be prepared as follows:                                   NaHC03 and the product was extracted with CH2Cl2 (3x20
                                                                   mL). The combined organic fractions were dried over anhy-
                                                                   drous Na2S04 and evaporated in vacuuo. The product was
                        OH                                       5 purified by column chromatography to afford sulindac amine
                                                                   as yellow viscous liquid. Typical yields of the reactions in
                                                                   Method B & C is range from 50 to 90°/ci.
F
                                                                      Method D
                              l. borane, THF, 0° C.
                                                                 10   Oxalyl chloride was added to a solution of sulindac (1.0
                              2. TBAI, Pyridine,
                                                                   equivalent) in CH2Cl2 (50 mL) followed by 2 drops ofDMF.
                                 CH2Cl2, Tf20
                                                                   The resulted reaction mixture was stirred at room temperature
                              3. NaNi, CH3CN                       for 1 h. Solvent was removed in vacuuo and the crude acid
                              4. PPhi
                                                                   chloride was used in the next step without any further purifi-
                                                                15 cation. Crude acid chloride was suspended in CC1 (25 mL)
                                                                                                                       4
                                                                   and was added trimethylsilyl azide (1.5 equivalent) at room
 ---s                                                              temperature. The reaction mixture was stirred at room tem-
                                                           NH2.
                                                                   perature 15 min. and slowly heated while stirring until the
                                                                   evolution of nitrogen ceased. Solvent was removed under
                                                                20
                                   F
                                                                   reduced pressure to give isocyanate as viscous yellow liquid.
                                             ~                     To the crude isocyanate in acetic acid (80 mL) was added
                                                                   Cone. HCl (20 mL). The reaction mixture was heated on a
                                             #                     steam bath at 50° C. for 30 min. Diluted the reaction mixture
                                                                25 with cold H20 (100 mL) and filtered. The solid filtered was
                                                                   washed with water and then ether to form sulindac metha-
                                                                   neamine as hydrochloride salt.
                                                                      MethodE

                                    ---s                               Aldehyde (2.0 equivalent) and amine (1.0 equivalent) were
                                                                 30
                                                                    mixed in dry 1,2-dichloroethane under argon atmosphere and
                                                 14
                                                                    then treated with sodium triacetoxyborohydride (1.5 equiva-
                                                                    lent). The reaction mixture was stirred at room temperature
   PPh3 refers to triphenylphosphine and Tf20 refers trifluo-       until the complete disappearance of amine (3-5 h). The reac-
 romethanesulfonic acid anhydride                                35 tion mixture was quenched with aqueous saturated NaHC03

 Method A                                                           and the product was extracted with CH2Cl2 (3x20 mL). The
                                                                    combined organic fractions were dried over anhydrous
   To a solution of ester (1 equivalent) in dry toluene at - 70°
C. under argon atmosphere was slowly added diisobutyl alu-          Na2S04 and evaporated in vacuuo. The product was purified
minium hydride (1 M) in toluene (1.2 equivalent) and the 40 by using Isco Teledyne chromatographic machine to afford
resulting mixture stirred at -70° C. for 1-2 hours. Methanol        sulindac amine as yellow viscous liquid.
(10 mL) was added slowly at - 70° C. and allowed to warm to         Method F
room temperature. The reaction mixture was washed with IN
                                                                       To a solution of sulindac sulfide (1 equivalent) in THF at 0°
aqueous HCI and extracted with CH2Cl2 (2x20 mL), The
                                                                    C. under nitrogen atmosphere, was added a solution ofborane
combined organic fractions were dried over anhydrous 45
                                                                    in THF (1.2 equivalent) and the reaction mixture stirred in the
Na2S04 and evaporated in vacuuo. The crude aldehyde was
                                                                    cold for 30 minutes, then at room temperature for 2 h. Water
used for the next step without further purification.
                                                                    was slowly added to the reaction mixture and extracted with
MethodB                                                             CH2Cl2 (3x20 mL). The crude alcohol was purified by col-
   Aldehyde (1 equivalent) and amine (1.5 equivalent) were 50 umn chromatography. To a solution of above alcohol and
mixed in dry MeOH at room temperature under argon atmo-             tetrabutylammonium iodide (2 equivalent) in pyridine (2.2
sphere. The reaction mixture was stirred at room temperature        equivalent) and CH2Cl2 was slowly added trifluoromethane
and progress of the reaction was monitored by TLC. After the        sulfonic anhydride (1.8 equivalent) at-78° C. for 15 minutes,
complete formation of aldimine (3-5 h), NaBH4 (1.5 equiva-          then at room temperature for 1 h. It was then diluted with
lent) was added slowly at room temperature. The reaction 55 CH2Cl2 (50 mL) and washed successively with 10% aqueous
mixture was stirred for 15 minutes and quenched with 1N             sodium thiosulfate, IN aqueous HCI, saturated NaHC03, and
NaOH. The product was extracted with CH2Cl2 (3x20 mL)               brine. The crude residue from the evaporation of the organic
and dried over anhydrous Na2S04. The solvent was evapo-             phase was chromatgraphed to obtain sulindac iodide. The
rated in vacuuo and purified by column chromatography to            above iodide compound was refluxed with sodium azide (1.5
                                                                 60 equivalent) in CH3CN for 10 h. Triphenylphosphine (PPh3)
afford sulindac amine as yellow viscous liquid.
                                                                    (1 equivalent) was added to above solution at room tempera-
MethodC                                                             ture and the reaction mixture was stirred under nitrogen atmo-
   Aldehyde (1 equivalent) and amine (1.5 equivalent) were          sphere for3 hours. CH2Cl2 (50mL)was added to the reaction
mixed in dry 1,2-dichloroethane under argon atmosphere and          mixture and washed with saturated NaHC03. Solvent was
then treated with sodium triacetoxyborohydride (1.5 equiva- 65 removed under reduced pressure and the product was purified
lent). The reaction mixture was stirred at room temperature         by silica gel column chromatography to provide sulindac
until the complete disappearance of aldehyde (3-5 h). The           amine as yellow viscous liquid.
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                             15                                                                     16
                         Example 1                                6'-H, 7-H, 5"-H), 7.06 (lH, s, 8-H), 6.84 (lH, dd, J=2.4 Hz,
                                                                  9.0 Hz, 4-H), 6.59 (lH, ddd, J=2.4 Hz, 9.3 Hz, 10.8 Hz, 6-H),
      (Z)-N-benzyl-2-( 5-fluoro-2-methyl- l-( 4-(methyl-          6.31 (lH, dd, J=l.8Hz, 3.3 Hz, 4"-H), 6.16 (lH, dd, J=0.6 Hz,
     sulfinyl)benzylidene)-l H-inden-3-yl)etbanarnine (1)         3.0 Hz, 3"-H), 3.82 (2H, s, -CH2-Furan), 2.86-2.73 (4H, m,
                                                                5 -CH2-CH2-NH), 2.54 (3H, s, ---SCH3), 2.16 (3H, s,
   By following methods A & C, the title compound 1 was           2-CH3). HRMS calcd for [C25H24FNOS+H]+· 406.16354.
obtained as a yellow viscous liquid.                              Found: 406.16388. Anal. calcd for [C25H24FNOS+0.2Hp]:
   1
     H NMR (CDCl3, 300 MHz): '67 72-7.63 (4H, in, 2'-H,           C, 73.39; H, 6.01, N, 3.42. Found: C, 73.25; H, 5.97; N, 3.20.
3'-H, 5'-H, 6'-H), 7.32-7.22 (SH, m, Ph-H), 7.15 (lH, dd, 10
J=5.4 Hz, 8.4 Hz, 7-H), 7 .08 (lH, s, 8-H), 6.85 (lH, dd, J=2.7                             Example 5
Hz, 9.3 Hz, 4-H), 6.57 (lH, ddd, J=2.4 Hz, 9.3 Hz, 11.1 Hz,
6-H), 3.84 (2H, s, -CH2-Ph), 2.90-2.75 (4H, m, -CH2-
CH2-NH), 2.80 (3H, s, ---SOCH3), 2.17 (3H, s, 2-CH3).                    (Z)-2-(5-fluoro-2-methyl-l-( 4-(methylthio )ben-
HRMS calcd for [C27H26FNOS+Ht· 432.17919. Found: 15                   zylidene )-1 H-inden-3-yl)-N-(2-(piperidin-l -yl)ethyl)
432.17990. Anal. calcd for [C21H26FNOS+O.SH20]: C,                                        ethanamine (5)
73.61, H, 6.18; N, 3.18. Found: C, 73.74; H, 5.95; N, 3.08.
                                                                        By following methods A & B, the title compound 5 was
                         Example 2                                    obtained as a yellow viscous liquid.
                                                                 20
                                                                         ESI-MSm/z: 437 [M+Ht 1HNMR(CDC13 ,300MHz): '6
     (Z)-2-(5-fluoro-2-methyl- l-( 4-(methylsulfinyl)ben-             7.43 (2H, d, J=8.4 Hz, 3'-H, 5'-H), 7.36 (lH, dd, J=5.4 Hz, 8.4
    zylidene)-lH-inden-3-yl)-N-(furan-2-ylmethyl)etha-
                                                                      Hz, 7-H), 7.29 (2H, d, J=8.4 Hz, 2'-H, 6'-H), 7.09 (lH, s, 8-H),
                        namine (2)
                                                                      6.87 (lH, dd, J=2.4 Hz, 9.0 Hz, 4-H), 6.60 (lH, ddd, J=2.4 Hz,
                                                                 25
   By following methods A & B, the title compound 2 was               9.0 Hz, 11.7 Hz, 6-H), 2.88-2.77 (6H, m, -CH2-CH2-
obtained as a yellow viscous liquid.                                  NH-CH2-), 2.54 (3H, s, ---SCH3), 2.51 (2H, t, J=6.0 Hz,
   ESI-MSm/z: 422 [M+Ht 1HNMR(CDC13, 300MHz): '6                      CH2-NO, 2.38 (4H, t, J=S.l Hz, 2"-H, 6"-H), 2.19 (3H, s,
7 72-7.64 (4H, m, 2'-H, 3'-H, 5'-H, 6'-H), 7.35 (lH, dd, J=0.6
                                                                      2-CH3), 1.51-1.48 (4H, m, 3"-H, 5"-H), 1.41-1.35 (2H, m,
Hz, 1.8 Hz, 5"-H), 7.14 (lH, dd, J=5.l Hz, 8.1 Hz, 7-H), 7.08    30
(IH, s, 8-H), 6.85 (lH, dd, J=2.4 Hz, 9.0 Hz, 4-H), 6.57 (lH,         4"-H). Anal. calcd for [C27H33FN2S+0.8H20]: C, 71.90; H,
ddd, J=2.4 Hz, 9.0 Hz, 10.8 Hz, 6-H), 6.31 (lH, dd, J=2.l Hz,         7.73; N, 6.21. Found: C, 72.04; H, 8.08; N, 5.81.
3.3 Hz, 4"-H), 6.17 (lH, dd, J=0.6 Hz, 3.0 Hz, 3"-H), 3.83
(2H, s, -CH2-Furan), 2.84-2.76 (4H, m, -CH2-CH2-
NH), 2.80 (3H, s, -SOCH3), 2.16 (3H, s, 2-CH3). Anal. calcd                                     Example 6
                                                                 35
for [C25H24FN02S+0.4H20]: C, 70.04; H, 5.83; N, 3.27
Found: C, 70.05; H, 5.95; N, 3.26.                                        (Z)-N-1-(2-(5-fluoro-2-methyl-l-( 4-(methylthio)
                                                                         benzylidene)-1H-inden-3-yl)ethyl)-N2,N2-dimethyl-
                         Example3                                                      etbane-l,2-diamine (6)
                                                                 40

     (Z}-N-benzyl-2-(5-fluoro-2-methyl- l-( 4-(meth-                    By following methods A & B, the title compound 6 was
    ylthio )benzylidene )-l H-inden-3-yl)etbanarnine (3)              obtained as a yellow viscous liquid.
                                                                         ESI-MSm/z: 397 [M+Ht 1HNMR(CDCl3,300MHz): '6
   By following methods A & B, the title compound 3 was 45            7.44 (2H, d, J=8.l Hz, 3'-H, 5'-H), 7.35 (lH, dd, J=S.l Hz, 8.4
obtained as a yellow viscous liquid.
                                                                      Hz, 7-H), 7.29 (2H, d, J=8.4 Hz, 2'-H, 6'-H), 7.07 (lH, s, 8-H),
   ESI-MSm/z: 416 [M+Ht 1HNMR(CDCl3 ,300MHz): '6                      6.88 (lH, dd, J=2.4Hz, 9.3 Hz, 4-H), 6.59 (lH, ddd, J=2.4 Hz,
7.44 (2H, d, J=8.l Hz, 3'-H, 5'-H), 7.35-7.21 (8H, m, 2'-H,           9.3 Hz, 11.1 Hz, 6-H), 2.86-2.72 (6H, m, -CH2-CH2-
6'-H, 7-H, Ph-H), 7.06 (lH, s, 8-H), 6.84 (lH, dd, J=2.4 Hz,          NH-CH2-), 2.54 (3H, s, ---SCH3), 2.45 (2H, t, J=6.3 Hz,
9.0 Hz, 4-H), 6.59 (lH, ddd, J=2.4 Hz, 9.3 Hz, 10.8 Hz, 6-H), 5o      CH2-NO, 2.22 (6H, s, -N(CH3 )2), 2.17 (3H, s, 2-CH3 ).
3.83 (2H, s, -CH2-Ph), 2.89-2.75 (4H, m,-CH2-CH2-                     HRMS calcd for [C24H29FN2S+H]+. 397.21082. Found:
NH), 2.54 (3H, s,---SCH3), 2.16 (3H, s, 2-CH3). HRMS calcd            397.21066.
for [C27H26FNS+H]+· 416.18428. Found: 416.18452. Anal.
calcd for [C27H26FNS+0.2Hp]: C, 77.36; H, 6.35; N, 3.34.
Found: C, 77.40; H, 6.48; N, 3.21.                            55                                Example 7

                         Example 4                                        (Z)-N-benzyl-2-(5-fluoro-2-methyl-l-( 4-(methyl-
                                                                         sulfonyl)benzylidene )-l H-inden-3-yl)ethanamine (7)
      (Z)-2-(5-fluoro-2-methyl-l-( 4-(methylthio )ben-
                                                                 60
    zylidene)- l H-inden-3-yl)-N-(furan-2-ylmethyl)etha-                By following methods A & C, the title compound 7 was
                         namine (4)                                   obtained as a yellow viscous liquid.
                                                                         1
                                                                           H NMR (CDCl3, 300 MHz): '6 8.00 (2H, d, J=8.4 Hz, 3'-H,
   By following methods A & B, the title compound 4 was               5'-H), 7.69 (2H, d, J=8.4 Hz, 2'-H, 6'-H), 7.32-7.22 (SH, m,
obtained as a yellow viscous liquid.                             65   Ph-H), 7.09 (lH, dd, J=5.2 Hz, 8.4 Hz, 7-H), 7.04 (lH, s,
   ES I-MS m/z: 406 [M+H]+ 1 H NMR (CDCl3, 300 MHz): '6               8-H), 6.84 (lH, dd, J=2.4 Hz, 8.8 Hz, 4-H), 6.57 (lH, ddd,
7.44 (2H, d, J=8.4 Hz, 3'-H, 5'-H), 7.36-7.26 (4H, m, 2'-H,           J=2.4 Hz, 8.8 Hz, 11.2 Hz, 6-H), 3.84 (2H, s,-CH2-Ph), 3.13
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                                17                                                                   18
(3H, s, ----S02CH3), 2.89 (2H, t, J=6.8 Hz, ---CH2-                    6-H), 3.93 (3H, s, 4'-0CH3), 3.84 (6H, s, 3'-0CH3, 5'-0CH3),
Qh-NH), 2.79 (2H, t, J=6.4 Hz, -CH,-CH2-NH), 2.16                      3.82 (2H, s, CH2-NH 2), 2.73 (2H, s, NH 2), 2.21 (3H, s,
(3H, s, 2-CH3). HRMS calcd for [C21H26FN0 2S+H]"'"·                    2-CH3).
448.17410.     Found:    448.17467. Anal.      calcd   for
[C 21H 26FN02S+O.SH20]: C, 71.03; H, 5.96; N, 3.07. Found:        5
                                                                                                Example 12
C, 70.82; H, 5.71, N, 2.93.

                             Example 8                                       (Z)-1-(5-Fluoro-2-methyl-l-( 4-(methylthio)ben-
                                                                            zylidene)-lH-inden-3-yl)-N,N-bis(pyridin-4-ylm-
     (Z)-N-benzyl-2-(5-fluoro-2-methyl-1-(3,4,5-tri-              10
                                                                                         ethyl)methanamine (12)
    methoxybenzylidene )-lH-inden-3-yl)ethanamine (8)
                                                                         By following methods D and E, the title compound 11 was
   By following methods A & C, the title compound 8 was
                                                                       obtained as a yellow viscous liquid in 84% (HPLC purity:
obtained as a yellow viscous liquid (LCMS purity: 100%,).
   1                                                              15   95.9%) yield.
     HNMR (CDC13, 300MHz ): ll 7.41 (lH, dd, J=S.2 Hz, 8.4
Hz, 7-H), 7.32-7.22 (SH, m, Ph-H), 7.07 (lH, s, 8-H), 6.86
                                                                           1
                                                                                                          s
                                                                             HNMR (CDC13 , 400 MHz): 8.56 (4H, dd, J=l.6 Hz, 4.8
(lH, dd, J=2.4 Hz, 9.2 Hz, 4-H), 6.73 (2H, s, 2'-H, 6 -H), 6.60
                                                     1                 Hz, 211-H, 611-H), 7.41 (2H, d, J=8.4 Hz, 2'-H, 61-H), 7.32 (lH,
(lH, ddd, J=2.4 Hz, 9.2 Hz, 11.6 Hz, 6-H), 3.92 (3H, s,                dd, J=S.2 Hz, 8.4 Hz, 7-H), 7.28-7.26 (6H, m, 3'-H, 5'-H,
4'-0CH 3), 3.87 (2H, s, ---CH2-Ph), 3.84 (6H, s, 3'-0CH3,              311-H, 511-H), 7.09 (lH, s, 10-H), 6.98 (lH, dd, J=2.4 Hz, 9.6
                                                                  20
5'-0CH3), 2.89 (2H, t, J=6.8 Hz, ---CH2-Qh -NH), 2.80                  Hz, 4-H), 6.58 (lH, tel, J=2.4 Hz, 9.2 Hz, 6-H), 3.55 (4H, s,
(2H, t, J=6.8 Hz, -Qh ---CH2 -NH), 2.16 (3H, s, 2-CH3 ).               CH2-Ar), 3.51 (2H, s, 3-CH2), 2.53 (3H, s, -SCH3), 2.18
HRMS calcd for [C29H30FN0 3+Hr· 460.22825. Found:                      (3H, s, 2-CH3). HRMS calcd for [C31H 28FN 3S+Ht·
460.22836.                                                             494.20607. Found: 494.20636.
                         Example 9
                                                                  25

     (Z)-N-benzyl-2-(5-fluoro-2-methyl-1-(pyridin-4-                                            Example 13
       ylmethylene)-lH-inden-3-yl)ethanamine (9)
                                                                            (Z)-l-(5-Fluoro-2-methyl-1-(3,4,5-trimethoxyben-
   By following methods A & 8, the title compound 9 was           30        zylidene )-l H-inden-3-yl)-N,N-bis(pyridin-4-ylm-
obtained as a yellow viscous liquid.                                                      ethyl)methanamine (13)
   ESI-MS, tuiz: 371 [M+Hl'" 1H NMR (CDC13, 300 MHz):
e 8.68 (2H, d, 1=5.7 Hz, 3'-H, 5'-H), 7.38 (2H, cl, 1=5.4 Hz,
                                                                         By following methods D and E, the title compound 13 was
2'-H, 61-H), 7 .33-7 .21 (SH, m, Ph-H), 7.11 (lH, dd, J=S.l Hz,        obtained as a yellow solid in 7 5% (HPLC purity: 100%) yield.
8.4 Hz, 7-H), 6.95 (lH, s, 8-H), 6.85 (lH, dd, 1=2.4 Hz, 9.0      35
Hz,4-H), 6.57 (lH,ddd, J=2.4 Hz,9.0Hz, ll.4Hz, 6-H), 3.87                M. P. 66.4° C.
                                                                        1
(2H, s, ---CH2-Ph), 2.89-2.79 (4H, m, ---CH2---CH2-NH),                   HNMR (CDC13 , 400 MHz): ll 8.56 (4H, dd, J=l.6 Hz, 4.4
2.15 (3H, s, 2-CH3). Anal, calcd for [C 25H23FN 2+0.5H 20]:          Hz, 211-H, 611-H), 7.39 (lH, dd, 1=5.2 Hz, 8.4 Hz, 7-H), 7.28
C, 75.89; H, 6.57; N, 7.08. Found: C, 75.87; H, 5.87; N, 6.25.       (4H, dd, 1=1.6 Hz, 4.8 Hz, 311-H, 511-H), 7.09 (lH, s, 10-H),
                                                                  40 7.00 (lH, dd, J=2.0 Hz, 9.2 Hz, 4-H), 6.71 (2H, s, 2'-H, 6 -H),
                                                                                                                                  1



                         Example 10                                  6.60 (lH, tel, 1=2.4 Hz, 9.2 Hz, 6-H), 3.92 (3H, s, 4'-0CH3),
                                                                     3.83 (6H, s, 3'-0CH3, 5'-0CH3), 3.56 (4H, s, CH2Ar), 3.51
       (Z)-(5-Fluoro-2-methyl- l-( 4-(methylthio )ben-               (2H, s, 3-CH2), 2.19 (3H, s, 2-CH3). HRMS calcd for
        zylidene)-lH-inden-3-yl)methanamine (10)                     (C33H 32FN 30 3+H]+. 538.25005. Found: 538.25017
                                                                  45
   By following method D, the title compound 10 was                                             Example 14
obtained as a yellow viscous liquid in 70% (HPLC purity:
98.7%) yield.
   1
                                     s
     H NMR (DMSO, 400 MHz): 7.48 (2H, d, J=8.4 Hz,                           (Z)-2-(5-Fluoro-2-methyl-1-( 4-(methylthio )ben-
2'-H, 6 -H), 7.35 (2H, d, J=8.4 Hz, 3'-H, 5'-H), 7.32 (lH, dd,
       1
                                                                  50
                                                                                   zylidene)-l H-inden-3-yl)ethanamine
J=S.6 Hz, 8.4 Hz, 7-H), 7.24 (lH, s, 10-H), 7.20 (lH, dd,
J=2.0 Hz, 9.2 Hz, 4-H), 6.71 (lH, td, 1=2.0 Hz, 9.2 Hz, 6-H),            By following method F, the title compound 14 was
3.65 (2H, s, CH2-NH 2), 2.53 (3H, s, ----SCH3), 2.15 (3H, s,           obtained as a yellow viscous liquid.
2-CH3), 1.64 (2H, s, NH 2).                                                ESI-MS m/z: 326.18 [M+Hr 1H NMR (CDCl3, 300
                                                                  55
                                                                       MHz): ll 7.43 (2H, d, J=8.l Hz, 3'-H, 5'-H), 7.34 (lH, dd,
                         Example 11                                    1=5.4 Hz, 8.4 Hz, 7-H), 7.28 (2H, d, J=8.l Hz, 2'-H, 6 -H),1



                                                                       7.08 (lH, s, 10-H), 6.84 (lH, dd, J=2.4 Hz, 9.0 Hz, 4-H), 6.56
      (Z)-(5-Fluoro-2-methyl-1-(3,4,5-trimethoxyben-                   (lH, tel, J=2.4 Hz, 9.0 Hz, 6-H), 2.94 (2H, t, J=6.3 Hz, C
        zylidene)-lH-inden-3-yl)methanamine (12)                       Hz-NH 2), 2.71 (2H, t, 1=6.9 Hz, 3-CH2), 2.54 (3H, s,
                                                                  60
                                                                       ----SCH3), 2.18 (3H, s, 2-CH3). HRMS calcd for
   By following method D, the title compound 11 was                    [C20 H20 FNS+Hr· 326.13732. Found: 326.13805.
obtained as a yellow solid in 88% (HPLC purity: 90.5%)
yield.                                                                   It has been found according to the present disclosure that
   M. P. 108.8° C.                                                     compounds disclosed are surprisingly and advantageously
   1
     H NMR (CDC13, 400 MHz): ll 7.45 (lH, dd, J=4.8 Hz, 8.0       65
                                                                       useful in treating mammalian cancer.
Hz, 7-H), 7.14 (lH, s, 10-H), 6.96 (lH, dd, J=2.4 Hz, 8.4 Hz,            The following tables demonstrate improved properties
4-H), 6.74 (2H, s, 2'-H, 6 -H), 6.61 (lH, td, J=2.8 Hz, 9.6 Hz,
                         1
                                                                       achievable by the present invention.
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                                                               US 9,365,528 B2
                                     19                                                                                20
                                                           TABLE 1

         Colon tumor cell growth inhibitory activity of sulindac amine derivatives and reductive amination products.
                    Results from three human colon tumor cell lines are shown in the Tables shown below.


                                                                                Colon tumor cell growth inhibitory activity
Compound                                                                                         (IC,o, µM)


designation                               Structure                               HT29           SW480            HCTll6


                                                                                   2.7             3.3                 4.9




                                                      HN
                                                           9
                        ---s

    2                                                                                              5.2




                                                           9
                                                                                   4.6                                 7.6




                                                      HN



                       F




                                              ~
                                      -=
                                 ~        ~
                        ---s


                                                  NH-r-NO                          3.0             5.4                 3.8




                F




                                      ~
                               -=
                           ~    ~
                 ---s
    Case 3:16-md-02691-RS Document 845-3 Filed 01/11/19 Page 14 of 30



                                                           US 9,365,528 B2
                              21                                                                                    22
                                             TABLE l-continued

     Colon tumor cell growth inhibitory activity of sulindac amine derivatives and reductive aminaticn products.
               Results from th.rec human colon tumor cell lines are shown in the Tables shown below.


4                                                                              4.1            4.1                  4.9




                         F
                                   ~
                                   #
                                             ~
                                     ~


                            -s   ~     ,,f




                F
                                           HNO                                 2.7




                                                                               6.1            7.07                 6.72




                F




                                 OMe


7                                                                             2.3




                 F




                 ----s
                       \\
                         0
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                                                           US 9,365,528 B2
                                  23                                                                                24
                                                   TABLE I-continued

     Colon tumor cell growth inhibitory activity of sulindac amine derivatives and reductive amination products.
               Results from three human colon tumor cell lines are shown in the Tables shown below.


                                                                               1.3




                F




                 ---s
                         \\
                             0


 9                                                                             1.8




                                                    HN
                                                         9
                        F




                    0
                 ~
                -s
                        II
                        0


                                                                               Tumor cell growth inhibitory activity

                                                                                            (ICso, µM)


                                                                                                               MDA-
                                                                                                              MB-231
No                                     Structure                              HT29             PC3            (breast)


IO                                                                            15.99           33.60                19.33

                              F




                                  Chemical Formula:
                                     C19H18FNS
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                                                                US 9,365,528 B2
                                   25                                                                                      26
                                                    TABLE I-continued

          Colon tumor cell growth inhibitory activity of sulindac amine derivatives and reductive amination products.
                   Results from three human colon tumor cell lines are shown in the Tables shown below.

     12                                                                            10.76             12.73                 9.50




                     F
                                                 rD
                                                N"-0       ~     # .




                     ---s
                                    Chemical Formula:
                                      C31H21FN 3S

     11                                                                            14.64             29.73             15.35




                                    Chemical Formula:
                                       C21H22FN03

    13                                                                             9.83               9.09                 8.21




                     F




                     ---o


                                   Chemical Formula:
                                     C33H32FN 303

                                                                                            Breast tumor cell growth
                                                                                          inhibitory activity (IC50, µM)


Compound                                                                                            MDA·
designation                             Structure                                MCF·7             MB·231            SKBR3
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                                                         US 9,365,528 B2
                           27                                                                                     28
                                           TABLE I-continued

  Colon tumor cell growth inhibitory activity of sulindac amin e derivatives and reductive arninaticn products.
             Results from three human colon tumor cell lines are shown in the Tables shown below.


                                                                              6.8              5.8                3.4




                                           HN
                                                 9
                F




                 -----s




                                                                             15.2            10.2                 6.4




                                            HN
                                                 9

                                                                              6.4             5.3                 4.8




         F
    Case 3:16-md-02691-RS Document 845-3 Filed 01/11/19 Page 18 of 30



                                                          US 9,365,528 B2
                                 29                                                                               30
                                               TABLE l-continued

     Colon tumor cell growth inhibitory activity ofsulindac amine derivatives and reductive amination products.
               Results from three human colon tumor cell lines are shown in the Tables shown below.


4                                                                              5.9             5.5                3.9




                          F




                          --s




                                               "O
5



                F




                                           ~
                                --0:::::


                            ~
                            N       ~




                                               ""O
6                                                                            12.2             14.7                7.1




                F




                                           ~
               Meo




                                      OMe


7                                                                                             3.7




                F




                    --s
                      \\0
      Case 3:16-md-02691-RS Document 845-3 Filed 01/11/19 Page 19 of 30



                                                                  US 9,365,528 B2
                                     31                                                                                    32
                                                     TABLE 1-continued
            Colon rumor cell growth inhibitory activity of sulindac amin e derivatives and reductive amination products.
                     Results from three human colon rumor cell lines are shown in the Tables shown below.

                                                                                                       6.9                 5.9




                       F




                        ----s
                             \\0
- = Not rested


   As mentioned herein above, a unique chara cteristic of the                                                        TABLE2
disclosed compounds is that they lack inhibitory effects on
                                                                                25                   Broad spectrum rumor cell growth inhibitory
cyclooxygenase, types 1 and 2, enzym es, that otherwise                                                activity of Compound 6 in human rumor
                                                                                                          cell lines from the ''NCI-60 panel"
would result in the depletion of physiologically important
pros ta gland.ins, which can result in gastrointestinal, renal and                                                                         Compound 6
                                                                                         Origin                   Cell Line                 ICso(µM)
cardiovascular toxicity. This property is illustrated in FIG. 1
                                                                                30
by comparing the ability of a NSAID, such as sulindac sulfide                            Hematopoietic            CCFR-CEM                     l.70
                                                                                                                  SR                           0.96
to inhibit the enzym atic activity of cyclooxygenases, types 1                                                    HL-60(TB)                    1.47
and 2, while a trimethoxy benzyl amino derivative of sulindac                                                     K562                         1.27
                                                                                                                  RPMI-8226                    1.45
referred to as Compound 6 herein with the aforementioned                                                          MOLT-4                       1.29
                                                                                35       Colon                    HCT-15                       1.80
properties lacks this activity. FIG. 1 demonstrates the                                                           HCT-116                      2.90
cyclooxygenase COX-1 and -2 inhibitory activity of the                                                            HCC-2998                     2.14
                                                                                                                  KM 12                        2.31
NSAID, sulindac sulfide (SS), and the lack of this effect from                                                    SW-620                       2.62
Compound 6, an amino derivative of sulindac. The enzym e                                                          COL0205                      2.47
                                                                                40                                HT29                         1.91
activity was measured using a colorimetric assay using                                   Lung                     NCI-H522                     l.79
recombinant COX enzymes. IC 50 values (50% inhibitory                                                             NCI-H460                     1.86
                                                                                                                  NCI-H322M                    3.51
concentration) are listed for each COX isozyme. FIG. 2 shows                                                      NCI-H23                      3.03
                                                                                                                  NCI-H226                     2.44
tumor cell growth inhibitory activity of a trimethoxy amino
                                                                                45                                A549                         2.50
derivative of sulindac (Compound 6) and sulindac sulfide                                                          EKVX                         3.77
                                                                                                                  HOP-62                       2.71
(SS) against the human MDA-MB-231 breast tumor cell line.                                                         HOP-92                       2.52
The growth inhibitory activity was determined following 72                               Renal                    ACHN                         2.67
                                                                                                                  U0-31                        2.79
hours of treatment using a standard cell viability assay (Cell                                                    CAKI-1                       3.51
                                                                                50
Titer Glo, Promega Corp).                                                                                         A498                         2.85
                                                                                                                  RXF -393                     2.65
                                                                                                                  SN12C                        2.90
                                                                                                                  786-0                        2.44
   The unexpected improvement in potency of Compound 6                                                            TK-10                        2.57
to inhibit tumor cell growth compared with sulindac sulfide is 55                        Breast                   T-47D                        1.44
                                                                                                                  MDA-MB-231                   2.10
another advantage of such compounds as shown in FIG. 2 and                                                        MDA-MB-468                   2.62
                                                                                                                  BT-549                       2.89
Tables 2 and 3. Another aspect is that the disclosed com-
                                                                                                                  Hs57BT                       1.96
pounds were found to display potent tumor cell growth inhibi-                                                     MCF-7                        2.40
                                                                                         Other                    NCI-ADR/RES                  2.17
tory activity against a variety of tumor cells types derived 60                          Renal                                                 2.67
                                                                                                                  ACHN
from solid tumors and hematological malignancies as illus-                                                        U0-31                        2.79
                                                                                                                  CAKI-1                       3.51
trated in Table 2 by the sensitivity of human tumor cell Jines
                                                                                                                  A498                         2.85
from the "NCI-60" panel to Compound 6. The sensitivity of                                                         RXF -393                     2.65
                                                                                                                  SN12C                        2.90
human colon tumor cell lines derived from adenomas (pre-
                                                               65                                                 786-0                        2.44
cancerous lesions) or adenocarcinomas (malignant lesions) to                                                      TK-10                        2.57
various amino derivatives of sulindac is shown in Table 3.
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                                                                US 9,365,528 B2
                                 33                                                                                    34
                    TABLE 2-continued                                                                       TABLE 2-continued
            Broad spectrum tumor cell growth inhibitory                                           Broad spectrum tumor cell growth inhibitory
              activity of Compound 6 i.n human tumor                                                activity of Compound 6 i.n human tumor
                 cell lines from the "NCI-60 panel"                                                    cell li.nes from the "NCI-60 panel"

                                                    Compound 6                                                                             Compound 6
Origin                   Cell Li.ne                  lC,a (µM)                        Origin                    Cell Li.ne                  lC,0(µM )

Breast                  T-47D                           1.44                                                    SK-MEL-5                       1.83
                        MDA-MB-231                      2.10                                                    SK-MEL-28                      2.04
                        MDA-MB-468                      2.62                10        CNS                       SNB-75                         2.65
                        BT-549                          2.89                                                    U251                           1.99
                        Hs578T                          1.96                                                    SF-268                         2.86
                        MCF-7                           2.40                                                    SNB-19                         2.72
Ovarian                 OVCAR-5                         1.91                                                    SF-539                         1.61
                        OVCAR-8                         2.13                                                    SF-295                         1.36
                        OVCAR-4                         3.39
                                                                            15
                        OVCAR-3                         2.00
                        !GROV-1                         2.3 I                       Cells were seeded into 96-well tissue culture treated micro-
                        SK-OV-3                         3.21                     titer plates at a density of 5000-20000 cells/well ( depending
Prostate                DU-145                          5.56
                        PC-3                            2.74
                                                                                 on cell line) in a total volume of 50 RPMI-1640 containing
Melanoma.               UACC-62                         2.01                     10% fetal bovine serum was used as assay media for all the
                        UACC-257                        2.16                20   cell lines. After overnight incubation, the cells were treated
                        LOX!MVI                         2.82                     with SRl 21882 for 72 h by adding 50 µI of2x stock solutions
                        Ml4                             1.31
                        MALME-3M                        2.88
                                                                                 to appropriate wells already containing 50 µl of cells and
                        MDA-MB-435                      1.02                     medium to expose cells to the final concentrations of com-
                        SK-MEL-2                        3.55                     pounds required. Cell viability was measured by the Cell Titer
                                                                                 Gia Assay (Promega).

                                                                                    TABLE3

                                                 Tumor cell growth inhibitory activity of a series of amino derivatives of sulinda.c.


                                                                                                                                                     Cox-1/-2
                                                                                        HT29     SW480 HCTl16          LT97       FHC      Colo741 Inhibition
                       ~o.                           Structure                          (!Cso)    (!Cso)    (!Cso)     (!Cso)    {lCso)     (IC,o) (!Cso)

                     Suli.ndac                                        0                 73.6      85.2       73.3      37.8     >200       149.9      3.35/
                      sulfide                                                                                                                         9.68



                                             F




                                                                                         2.67      3.28       4.93      6.82        7.83      8.85    >200/




                                                                      9
                                                                                                                                                      >200




                                                                 HN




                                                 -=
                                      ---s
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                                                                  US 9,365,528 B2
                                    35                                                                                      36
                                                       TABLE 3-continued
                           Tumor cell growth inhibitory activity of a series of amino derivatives of sulindac.

                                                                                                                           Cox-11-2
                                                                 HT29      SW480 HCTll6         LT97       FHC     Colo741 Inhibition
  No.                          Strucrure                         (ICso)    (ICso)     (ICso)    (ICso)    (ICso)    (ICso) (ICso)
                                                                  3.14      10.70     12.47     35.2      17.42     12.85    >200/
                                                                                                                             >200



         F




          ---s
              \\
                       0

   9                                                              2.02       5.36      6.44      8.85     11.18      5.87    >100/




                                                9
                                                                                                                             >100




                                           HN



                  F




              0
          ~
         -s
                  II
                  0

   6




          F
                                       f ND                       5.21       2.90      3.76      5.30      3.71      5.35    >100
                                                                                                                             >100




              MeO
                            OMe



The potency to inhibit tumor cell growth was determined by                              It has also been noted according to the present disclosure
calculating IC 50 values using a standard cell viability assay                       that amino derivatives according to the present disclosure
(Cell Titer Glo, Promega Corp,) following 72 hours of treat-                    60   have the ability to activate cGMP signaling in tumor cells and
ment. The human colon tumor cell lines, HT-29, SW480,                                suppress oncogenic ~-catenin transcriptional activity and
HCTl 16, and Colo 741 were derived from colon adenocar-                              have shown desirable pharmacokinetic properties in mice.
cinomas, while LT97 is derived from an adenoma. Fetal                                   In keeping with the present disclosure, the derivatives of
human colonocytes (FHC) are representative of normal                                 sulindac can be used alone or in appropriate association, and
colonocytes. The lack of effect inhibiting cyclooxygenases 1                    65   also may be used in combination with pharmaceutically
and2 (COX-1 and-2) is also shown. Sulindac sulfide is shown                          acceptable carriers and other pharmaceutically active com-
for comparison.                                                                      pounds such as various cancer treatment drugs including
      Case 3:16-md-02691-RS Document 845-3 Filed 01/11/19 Page 22 of 30



                                                        US 9,365,528 B2
                               37                                                                       38
 NSAlDs and/or along with radiation. The active agent may be               ologically acceptable diluent in a pharmaceutical carrier,
 present in the pharmaceutical composition in any suitable                 such as a sterile liquid or mixture of liquids, including water,
 quantity.                                                                 saline, aqueous dextrose and related sugar solutions, an alco-
    The pharmaceutically acceptable carriers described herein,             hol, such as ethanol, isopropanol, or hexadecyl alcohol, gly-
 for example, vehicles, adjuvants, excipients, or diluents, are       5    cols, such as propylene glycol or polyethylene glycol such as
 well-known to those who are skilled in the art. Typically, the            poly(ethyleneglycol) 400, glycerol ketals, such as 2,2-dim-
 pharmaceutically acceptable carrier is chemically inert to the            ethyl-l,3-dioxolane-4-methanol, ethers, an oil, a fatty acid, a
 active compounds and has no detrimental side effects or tox-              fatty acid ester or glyceride, or an acetylated fatty acid glyc-
 icity under the conditions of use. The pharmaceutically                   eride with or without the addition of a pharmaceutically
 acceptable carriers can include polymers and polymer matri-         10    acceptable surfactant, such as a soap or a detergent, suspend-
 ces.                                                                      ing agent, such as pectin, carbomers, methylcellulose,
    The choice of carrier will be determined in part by the                hydroxypropylmethylcellulose, or carboxymethylcelluslose,
 particular method used to admini ster the composition.                    or emulsifying agents and other pharmaceutical adjuvants.
 Accordingly, there is a wide variety of suitable formulations                Oils, which can be used in parenteral formulations include
 of the pharmaceutical composition of the present invention.         15    petroleum, animal, vegetable, or synthetic oils. Specific
 The following formulations for oral, aerosol, parenteral, sub-            examples of oils include peanut, soybean, sesame, cotton-
 cutaneous, intravenous, intraarterial, intramuscular, intrap-             seed, com, olive, petrolatum, and mineral. Suitable fatty acids
 eritoneal, intrathecal, rectal, and vaginal admini stration are           for use in parenteral formulations include oleic acid, stearic
 merely exemplary and are in no way limiting.                              acid, and isostearic acid. Ethyl oleate and isopropyl myristate
    Formulations suitable fororal administration can consist of      20    are examples of suitable fatty acid esters. Suitable soaps for
 (a) liquid solutions, such as an effective amount of the com-             use in parenteral formulations include fatty alkali metal,
pound dissolved in diluenrs, such as water, saline, or orange              ammonium, and triethanolamine salts, and suitable deter-
juice; (b) capsules, sachets, tablets, lozenges, and troches,              gents include (a) cationic detergents such as, for example.
 each containing a predetermined amount of the active ingre-               dimethyldialkylammonium halides, and alkylpyridinium
 dient, as solids or granule; (c) powders; (d) suspensions in an     25    halides, (b) anionic detergents such as, for example, alkyl,
 appropriate liquid; and (e) suitable emulsions. Liquid formu-             aryl, and olefin sulfonates, alkyl, olefin, ether, and monoglyc-
 lations may include diluents, such as water, cyclodextrin,                eride sulfates, and sulfosuccinates, ( c) nonionic detergents
dimethyl sulfoxide and alcohols, for example, ethanol, benzyl              such as, for example, fatty amine oxides, fatty acid alkanola-
alcohol, propylene glycol, glycerin, and the polyethylene                 mides, and polyoxyethylene polypropylene copolymers, (d)
alcohols including polyethylene glycol, either with or with-         30   amphoteric detergents such as, for example, alkyl ~-amino-
out the addition of a pharmaceutically acceptable surfactant,             propionates, and 2-alkylimidazoline quaternary ammonium
suspending agent, or emulsifying agent. Capsule forms can                  salts, and (e) mixtures thereof.
be of the ordinary hard- or soft-shelled gelatin type contain-                The parenteral formulations typically contain from about
ing, for example, surfactants, lubricants, and inert fillers, such        0.5% to about 25% by weight of the active ingredient in
as lactose, sucrose, calcium phosphate, and com starch. Tab-         35   solution. Suitable preservatives and buffers can be used in
let forms can include one or more of the following: lactose,              such formulations. In order to minim ize or eliminate irritation
sucrose, mannitol, com starch, potato starch, a!ginic acid,               at the site of injection, such compositions may contain one or
microcrystalline cellulose, acacia, gelatin, guar gum, colloi-            more nonionic surfactants having a hydrophile-lipophile bal-
dal silicon dioxide, croscarmellose sodium, talc, magnesium               ance (HLB) of from about 12 to about 17. The quantity of
stearate, calcium stearate, zinc stearate, stearic acid, and other   40   surfactant in such formulations ranges from about 5% to
excipients, colorants, diluents, buffering agents, disintegrat-           about 15% by weight. Suitable surfactants include polyeth-
ing agents, moistening agents, preservatives, flavoring                   ylene sorbitan fatty acid esters, such as sorbitan monooleate
agents, and pharmacologically compatible carriers. Lozenge                and the high molecular weight adducts of ethylene oxide with
forms can comprise the active ingredient in a flavor, usually             a hydrophobic base, formed by the condensation of propy Jene
sucrose and acacia or tragacanth, as well as pastilles compris-      45   oxide with propylene glycol.
ing the active ingredient in an inert base, such as gelatin and               Pharmaceutically acceptable excipients are also well-
glycerin, or sucrose and acadia, emulsions, and gels contain-             known to those who are skilled in the art. The choice of
ing, the addition to the active ingredient in an inert base, such         excipient will be determined in part by the particular com-
as gelatin and glycerin, or sucrose and acadia, emulsions, and            pound, as well as by the particular method used to administer
gels containing, in addition to the active ingredient, such          50   the composition. Accordingly, there is a wide variety of suit-
carriers as are known in the art.                                         able formulations of the pharmaceutical composition of the
    The derivatives of sulindac alone or in combination with              present disclosure. The following methods and excipients are
other suitable components, can be made into aerosol formu-                merely exemplary and are in no way limiting. The pharma-
lations to be administered via inhalation. These aerosol for-             ceutically acceptable excipients preferably do not interfere
mulations can be placed into pressurized acceptable propel-          55   with the action of the active ingredients and do not cause
lants, such as dichlorodifluoromethane, propane, and                      adverse side-effects. Suitable carriers and excipients include
nitrogen. They also may be formulated as pharmaceuticals for              solvents such as water, alcohol, and propylene glycol, solid
non-pressured preparations, such as in a nebulizer or an atom-            absorbants and diluents, surface active agents, suspending
izer.                                                                     agent, tableting binders, lubricants, flavors, and coloring
    Formulations suitable for parenteral admini stration             60   agents.
include aqueous and non-aqueous, isotonic sterile injection                   The formulations can be presented in unit-does or multi-
solutions, which can contain anti-oxidants, buffers, bacteri-             dose sealed containers, such as ampules and vials, and can be
ostats, and solutes that render the formulation isotonic with             stored in a freeze-dried (lyophilized) condition requiring only
the blood of the intended recipient, and aqueous and non-                 the addition of the sterile liquid excipient, for example, water,
aqueous sterile suspensions that can include suspending              65   for injections, immediately prior to use. Extemporaneous
agents, solubilizers, thickening agents, stabilizers, and pre-            injection solutions and suspensions can be prepared from
servatives. The compound can be administered in a physi-                  sterile powders, granules, and tablets. The requirements for
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 effective pharmaceutical carriers for injectable compositions             efit from treatment with NSAJDs, which can also be treated or
 are well known to those of ordinary skill in the art. See                 prevented with compounds described in the present disclo-
Pharmaceutics and Pharmacy Practice, J.B. Lippincott Co.,                  sure.
 Philadelphia, Pa., Banker and Chalmers, Eds., 238-250                         The dose administered to an animal, particularly a human,
 (1982) andASHP Handbook on Injectable Drugs, Toissel, 4th            5    in the context of the present invention should be sufficient to
 ed., 622-630 (1986).                                                      affect a therapeutic response in the animal over a reasonable
    Formulations suitable for topical administration include               time frame. One skilled in the art will recognize that dosage
 lozenges comprising the active ingredient in a flavor, usually            will depend upon a variety of factors including the condition
 sucrose and acacia or tragacanth; pastilles comprising the                of the animal, the body weight of the animal, as well as the
                                                                           severity and stage of the cancer.
 active ingredient in an inert base, such as gelatin and glycerin,    10
                                                                               A suitable dose is that which will result in a concentration
 or sucrose and acacia; and mouthwashes comprising the
                                                                           of the active agent in tumor tissue which is known to affect the
 active ingredient in a suitable liquid carrier; as well as creams,
                                                                           desired response. The preferred dosage is the amount which
 emulsions, and gels containing, in addition to the active ingre-          results in maximum inhibition of cancer, without unmanage-
dient, such carriers as are known in the art.                              able side effects.
    Additionally, formulations suitable for rectal administra-        15       The total amount of the compound of the present disclosure
tion may be presented as suppositories by mixing with a                    administered in a typical treatment is preferably between
variety of bases such as emulsifying bases or water-soluble                about 10 mg/kg and about 1000 mg/kg of body weight for
bases. Formulations suitable for vaginal administration may                mice, and between about 100 mg/kg and about 500 mg/kg of
be presented as pessaries, tampons, creams, gels, pastes,                  body weight, and more preferably between 200 mg/kg and
foams, or spray formulas containing, in addition to the active        20   about 400 mg/kg of body weight for humans per daily dose.
ingredient, such carriers as are known in the art to be appro-             This total amount is typically, but not necessarily, adminis-
priate.                                                                    tered as a series of smaller doses over a period of about one
    One skilled in the art will appreciate that suitable methods           time per day to about three times per day for about 24 months,
of exogenously administering a compound of the present                     and preferably over a period of twice per day for about 12
disclosure to an animal are available, and, although more than        25   months.
one route can be used to administer a particular compound, a                  The size of the dose also will be determined by the route,
particular route can provide a more immediate and more                     timing and frequency of administration as well as the exist-
effective reaction than another route.                                     ence, nature and extent of any adverse side effects that might
                                                                           accompany the administration of the compound and the
    The present disclosure further provides a method of treat-
                                                                           desired physiological effect. It will be appreciated by one of
ing precancerous conditions or dysplosia (i.e.-intraepithe-           30
                                                                           skill in the art that various conditions or disease states, in
lial neoplasia) as well as cancer in a mammal, especially                  particular chronic conditions or disease states, may require
humans. The method comprises administering an effective                    prolonged treatment involving multiple administrations.
treatment amount of a derivative of sulindac disclosed above                  The method disclosed comprises further administering of
to the mammal.                                                             chemotherapeutic agent other than the derivatives of the
   As regards these applications, the present method includes         35   present invention. Any suitable chemotherapeutic agent can
the administration to an animal, particularly a mammal, and                be employed for this purpose. The chemotherapeutic agent is
more particularly a human, of a therapeutically effective                  typically selected from the group consisting of alkylating
amount of the compound effective in the inhibition of neo-                 agents, antimetabolites, natural products, anti-inflammatory
plasia and tumor growth and treating malignant disease                     agents, hormonal agents, molecular targeted drugs, anti-an-
including metastases, especially colorectal cancer. The               40   giogenic drugs, and miscellaneous agents.
method also includes the administration of a therapeutically                  Examples of alkylating chemotherapeutic agents include
effect amount of the compound for the treatment of and                     cannustine, chlorambucil, cisplatin, lomustine, cyclophos-
precancerous lesions such as adenomatous polyps of the                     phamide, melphalan, mechlorethamine, procarbazine,
colon and other dysplastic lesions of the skin ( actinic kerato-           thiotepa, uracil mustard, triethylenemelamine, busulfan,
sis ), bladder, cervix, esophagus, oral cavity, Jung, prostate        45   pipobroman, streptozocin, Ifosfamide, dacarbazine, carbopl-
and breast sometimes referred to as intraepithelial neoplasia.             atin, and hexamethylmelamine.
   The disclosed compounds and compositions can be admin-                     Examples of chemotherapeutic agents that are antimetabo-
                                                                           lites include cytosine arabinoside f!uorouracil, gemcitabine,
istered to treat a number of cancers, including leukemias and
                                                                           mercaptopurine, methotrexate, thioguanine, floxuridine, flu-
lymphomas such as acute lymphocytic leukemia, acute non-
                                                                           darabine, and cladribine.
lymphocytic leukemias, chronic lymphocytic leukemia,                  50
                                                                              Examples of chemotherapeutic agents that are natural
chronic myelogenous leukemia, Hodgkin's Disease, non-                      products include actinomycin D, bleomycin, camptothecins,
Hodgkin's lymphomas, and multiple myeloma, childhood                       daunomycin, doxorubicin, etoposide, mitomycin C, pacli-
solid tumors such as brain tumors, neuro blastoma, retina blas-            taxel, taxoteredocetaxel, tenisposide, vincristine, vinblastine,
toma, Wilms Tumor, bone tumors, and soft-tissue sarcomas,                  vinorelbine, idarubicin, mitoxantrone, mithramycin and
common solid tumors of adults such as lung cancer, breast             55   deoxycoformycin.
cancer, prostate cancer, urinary cancers, uterine cancers, oral               Examples of hormonal agents include estrogen receptor
cancers, pancreatic cancer, melanoma and other skin cancers,               antagonists such as tamoxifen and fluvestrant, aromatase
stomach cancer, ovarian cancer, brain tumors, liver cancer,                inhibitors such as anastrozole, androgen receptor antagonists
laryngeal cancer, thyroid cancer, esophageal cancer, and tes-              such as cyproterone and f!utamine, as well as gonadotropin
ticular cancer.                                                       60   release hormone agonists such as leuprolide. Examples of
   The present disclosure also relates to treating certain                 anti-inflammatory drugs include adrenocorticoids such as
chronic inflammatory conditions which NSAJDs have shown                    prednisone, and nonsteroidal anti-inflammatory drugs such
benefit, but may be contraindicated due to cyclooxygenase                  as sulindac or celecoxib. Examples of molecular targeted
inhibition (i.e.-inflammatory bowel disease) or do not                     drugs include monoclonal antibodies such as rituximab,
appear to require cyclooxygenase inhibition for efficacy such         65   cetuximab, trastuzumab and small molecules such as ima-
as certain neurodegenerative diseases, including Alzheimer's               tinib, erlotinib, ortizumib. Examples of anti-angiogenic drugs
disease. Still there are additional disease indications that ben-          include thalidomide and bevacizimab. Examples of the afore-
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said miscellaneous chemotherapeutic agents include mito-            pharmaceutically acceptable salts thereof, prodrugs thereof,
tane, arsenic trioxide, tretinoin, thalidomide, levamisole,         solvates thereof and mixtures thereof.
L-asparaginase and hydroxyurea.
                                                                                                   Embodiment D
   Exemplary embodiments of the present disclosure include:
                    Embodiment A                                       The compound of Embodiment A being represented by the
   Compound represented by the formula                              following formula:



                                                               LO
                X


                                                                               F

                                                               15


    wherein each of R4 and Rs is selected from the group
consisting of H, alkyl, a substituted or unsubstituted 5 or 6
member ring, provided that at least one of R, and Rs is other 20
than H; and when both R1 and Rs are a substituted or unsub-
stituted 5 or 6 member ring, both of R, and Rs are a substituted
or unsubstituted pyridyl ring;                                               -s
    R6 is a substituted or unsubstituted 5 or 6 member ring;
   X is a halogen; and                                              pharmaceutically acceptable salts thereof, prodrugs thereof,
   pharmaceutically acceptable salts thereof, prodrugs 25 solvates thereof and mixtures thereof.
thereof, solvates thereof and mixtures thereof.
                                                                                         Embodiment E
                         Embodiment B
                                                                       The compound of Embodiment A being represented by the
   Tue compound of Embodiment A being represented by the            following formula:
following formula:                                               30
                                         NH2,


                F
                                                                           F
                                                               35




                                                               40                       --::::::


                -s
                                                                           -s
pharmaceutically acceptable salts thereof, prodrugs thereof,
                                                                    pharmaceutically acceptable salts thereof, prodrugs thereof,
solvates thereof and mixtures thereof.                         45
                                                                    solvates thereof and mixtures thereof.
                      Embodiment C
                                                                                                   Embodiment F
   The compound of Embodiment A being represented by the
following formula:                                                    The compound of Embodiment A represented by the fol-
                                                               50 lowing formula:




                                                                               F

                                                               55
        F




                                                               60


                                                                               -s
                                                                                   \\
                                                                                   0

        -s                                                     65
                                                                    pharmaceutically acceptable salts thereof, prodrugs thereof,
                                                                    solvates thereof and mixtures thereof.
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                            43                                                                          44
                      Embodiment G                                                              Embodiment J

   The compound of Embodiment A being represented by the               The compound of Embodiment A being represented by the
following formula:                                                  following formula:




         F
                                                               10                                             NH
                                                                                                                   9
                                                                                  F

                                                               15



         -s
              \\0
                                                               20


pharmaceutically acceptable salts thereof, prodrugs thereof,                           0
solvates thereof and mixtures thereof.
                      Embodiment H
                                                               25
                                                                                        '
                                                                                       -s
                                                                                           II
                                                                                           0

   The compound of Embodiment A being represented by the            pharmaceutically acceptable salts thereof, prodrugs thereof,
following formula:                                                  solvates thereof and mixtures thereof.

                                                                                                Embodiment K
                                                               30
                                                                       The compound of Embodiment A being represented by the
                                                                    following formula:
         F


                                                               35

                                                                              F



                                                               40



pharmaceutically acceptable salts thereof, prodrugs thereof,
solvates thereof and mixtures thereof.
                                                               45
                       Embodiment I                                               -s
                                                                    pharmaceutically acceptable salts thereof, prodrugs thereof,
   The compound of Embodiment A being represented by the            solvates thereof and mixtures thereof.
following formula:
                                                                                                Embodiment L
                                                               50
                                                                      A compound being represented by the following formula:



                                                               55




                                                               60




                                                                                                  _.,.,...o
                                                               65
pharmaceutically acceptable salts thereof, prodrugs thereof,        pharmaceutically acceptable salts thereof, prodrugs thereof,
solvates thereof and mixtures thereof.                              solvates thereof and mixtures thereof,
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                             45                                                                   46
                       Embodiment M                            wherein each of R4 and Rs is selected from the group
                                                            consisting of H, alkyl, a substituted or unsubstituted 5 or 6
   The compound of Embodiment A being represented by the    member ring, provided that at least one of R4 and Rs is other
following formula:                                          than H; and when both R4 and Rs are a substituted or unsub-
                                                          5 stituted 5 or 6 member ring, both of'R, and Rs are a substituted
                                                            or unsubstituted pyridyl ring;
                                                               R6 is a substituted or unsubstituted 5 or 6 member ring; and
                                                               Xis a halogen; and/or a compound according to any one of
                                                            Embodiments A-M,
                                                         io    pharmaceutically acceptable salts thereof, prodrugs
                                                            thereof, solvates thereof and mixtures thereof.

                                                                                            Embodiment P
                                                               15
                                                                       A method for treating a patient with a chronic inflamma-
                                                                    tory disease, which comprises administering to the patient an
                                                                    effective treatment amount of a compound represented by the
                                                                    formula:
                                                               20


pharmaceutically acceptable salts thereof, prodrugs thereof,                        X
solvates thereof and mixtures thereof.
                       Embodiment N                            25


   A pharmaceutical composition comprising a compound
represented by the formula:

                                                               30

                                                                       wherein each of R 4 and Rs is selected from the group
                X                                                   consisting of H, alkyl, a substituted or unsubstituted 5 or 6
                                                                    member ring, provided that at least one of R, and Rs is other
                                                               35
                                                                    than H; and when both R4 and Rs are a substituted or unsub-
                                                                    stituted 5 or 6 member ring, both of'R, and Rs are a substituted
                                                                    or unsubstituted pyridyl ring;
                                                                       R 6 is a substituted or unsubstituted 5 or 6 member ring; and
                                ~                                      Xis a halogen; and/or a compound according to any one of
                                                               40   Embodiments A-M,
   wherein each of R 4 and Rs is selected from the group               pharmaceutically acceptable salts thereof, prodrugs
consisting of H, alkyl, a substituted or unsubstituted 5 or 6       thereof, solvates thereof and mixtures thereof.
member ring, provided that at least one of R, and Rs is other
than H; and when both R4 and Rs are a substituted or unsub-
                                                                                          Embodiment Q
stituted 5 or 6 member ring, both ofR; and Rs are a substituted 45
or unsubstituted pyridyl ring;
   ~ is a substituted or unsubstituted 5 or 6 member ring; and        The method according to Embodiment P, wherein the
   Xis a halogen; and/or a compound according to any one of        chronic inflammatory disease is inflammatory bowel disease.
Embodiments A-M,
   pharmaceutically acceptable salts thereof, prodrugs                                    Embodiment R
                                                                50
thereof, solvates thereof and mixtures thereof;
   and a pharmaceutically acceptable carrier.                         A method for treating a patient having a neurodegenerative
                        Embodiment 0                               disease, which comprises administering to the patient an
                                                                   effective treatment amount of a compound represented by the
   A method of treating a precancerous condition or cancer in 55 formula:
a mammal comprising admini stering to the mammal an effec-
tive treatment amount of a compound represented by the
formula:

                                                                                    X
                                                               60
               X




                                                               65                                   ~
                               ~
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                               47                                                                    48
   wherein each of R4 and Rs is selected from the group              The foregoing description illustrates and describes the dis-
consisting of H, alkyl, a substituted or unsubstituted 5 or 6     closure. Additionally, the disclosure shows and describes
member ring, provided that at least one of'R, and Rs is other     only the preferred embodiments but, as mentioned above, it is
than H; and when both R4 and Rs are a substituted or unsub-       to be understood that it is capable to use in various other
stituted 5 or 6 member ring, both of R, and Rs are a substituteds combinations, modifications, and environments and is
or unsubstituted pyridyl ring;
                                                                  capable of changes or modifications within the scope of the
   R,s is a substituted or unsubstituted 5 or6 member ring; and
   X is a halogen; and/or a compound according to any one of      invention concepts as expressed herein, commensurate with
Embodiments A-M,                                                  the above teachings and/or the skill or knowledge of the
   pharmaceutically acceptable salts thereof, prodrugs            relevant art. The embodiments described herein above are
                                                               10
thereof, solvates thereof and mixtures thereof.                   further intended to explain best modes known by applicant
                                                                  and to enable others skilled in the art to utilize the disclosure
                        Embodiment S                              in such, or other, embodiments and with the various modifi-
                                                                  cations required by the particular applications or uses thereof.
   The method according to Embodiment R, wherein the neu-         Accordingly, the description is not intended to limit the inven-
                                                               15
rodegenerative disease is Alzheimer's disease.                    tion to the form disclosed herein. Also, it is intended to the
                                                                  appended claims be construed to include alternative embodi-
                        Embodiment T                              ments.
                                                                     All publications and patent applications cited in this speci-
   A method for preparing a compound according to any one
                                                               20 fication are herein incorporated by reference, and for any and
of Embodiments A-K and M which comprise converting an
                                                                  all purposes, as if each individual publication or patent appli-
ester of sulindac or a derivative therefore represented by the
                                                                  cation were specifically and individually indicated to be
following formula:
                                                                  incorporated by reference. In the event of an inconsistency
                                                                  between the present disclosure and any publications or patent
                                                               25 application incorporated herein by reference, the present dis-
                                         0-•
                                                                  closure controls.
               F
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are a substituted or unsubstituted 5 or 6 member ring, both of 60          Paranka N, et al. Do NSAIDs exert their colon cancer
R4 and Rs are a substituted or unsubstituted pyridyl ring.                 chemoprevention activities through the inhibition of
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stood to encompass the plural as well as the singular, unless              and sulfone inhibit cell growth by inducing apoptosis. Can-
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                                                                             ring is substituted with at least one member selected
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                                                                             is a substituted or unsubstituted 5 or 6 member ring other
    expression in normal-appearing colon of hereditary non-                  than H; and when both ~ and Rs are a substituted or
   polyposis co!orectal cancer and familial adenomatous                      unsubstituted 5 or 6 member ring, both of R4 and Rs are
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   nuclear beta-catenin accumulation and Wnt signalling in                   and mixtures thereof.
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                            51                                                                   52
   3. The compound of claim 1 being represented by the                  6. The compound of claim 1 being represented by the
following formula:                                                   following formula:




                                                                              F


                                                                10
         F




                                                                15

                                                                              -s
                                                                                  \\
                                                                                   0

         -s                                                     20



pharmaceutically acceptable salts thereof, solvates thereof            pharmaceutically acceptable salts thereof, solvates thereof
and mixtures thereof.                                                    and mixtures thereof.
   4. The compound of claim 1 being represented by the          25      7. The compound of claim 1 being represented by the
following formula:                                                   following formula:



                                                                30

     F

                                                                              F
                                                                35




                                                                40
      -s

  pharmaceutically acceptable salts thereof, solvates thereof
                                                                       pharmaceutically acceptable salts thereof, solvates thereof
    and mixtures thereof.                                       45
                                                                         and mixtures thereof.
   5. The compound of claim 1 being represented by the
                                                                        8. The compound of claim 1 being represented by the
following formula:
                                                                     following formula:

                                                                50



             F


                                                                55




                                                                60

             -s
                 \\
                  0

                                                                65
  pharmaceutically acceptable salts thereof, solvates thereof          pharmaceutically acceptable salts thereof, solvates thereof
    and mixtures thereof.                                                and mixtures thereof.
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                              53                                                                                  54
   9. The compound of claim 1 being represented by the                   pharmaceutically acceptable salts thereof, solvates thereof
following formula:                                                         and mixtures thereof.
                                                                         12. The compound of claim 1 being represented by the
                                                                      following formula:
                                                                  5




                                                                 10
                                                                                                                       Nr-CN,
           F
                                                                                F

                                                                                                                        l)
                                                                 15

                                                                                 _,. . ,. o

                                                                                 "-o
                                                                 20
                     0
                     \                                                                            .,....,-a
                -s
                      II
                         0
                                                                        pharmaceutically acceptable salts thereof, solvates thereof
                                                                 25       and mixtures thereof.
   pharmaceutically acceptable salts thereof, solvates thereof
     and mixtures thereof.                                              13. A pharmaceutical composition comprising a com-
   10. The compound of claim 1 being represented by the               pound represented by the formula:
following formula:
                                                                 30


                                                                                              X


                                                                 35
          F




                                                                 40
                                                                        wherein each of R4 and R5 is selected from the group
                                                                          consisting ofH, alkyl, a substituted or unsubstituted S or
                                                                          6 member ring and when substituted the S or 6 member
          -s                                                              ring is substituted with at least one member selected
                                                                 45       from the group consisting of alkyl, halo, alkoxy, amino
  pharmaceutically acceptable salts thereof, thereof, solvates            and aminoalkyl, provided that at least one of R, and R5
    thereof and mixtures thereof.                                         is a substituted or unsubstituted Sor 6 member ring; and
  11. A compound being represented by the following for-                  when both R4 and R5 are a substituted or unsubstituted S
mula:                                                                     or 6 member ring, both of R, and R5 are a substituted or
                                                                 50       unsubstituted pyridyl ring;
                                                                        R6 is a substituted or unsubstituted Sor 6 member ring; and
                 F                                                      X is a halogen; and
                                                                        pharmaceutically acceptable salts thereof, solvates thereof
                                                                 55       and mixtures thereof; and a pharmaceutically acceptable
                                                                          carrier.
                                                                         14. The compound of claim 1, wherein each of'R, and R5 is
                                                                      selected from the group consisting of H, alkyl, or unsubsti-
                                                                 60   tuted 5 or 6 member ring.
                                                                          15. The composition of claim 13, wherein each of R, and
                                                                      R5 is selected from the group consisting ofH, alkyl, or unsub-
                                                                      stituted S or 6 member ring.
                                                                                                       *      *   *    *   *
